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    5

   6 1-1-------------------'---------------
                               UNITED STATES DISTRICT COURT
   7
           CENTRAL DISTRICT OF CALIFORNIA- EASTERN DIVISION
   8
     THE GARMON CORPORATION, a               CASE NUMBER:
   9
     California corporation
  10                         Plaintiff( s ), COMPLAINT FOR INJUNCTIVE
  11
                                             RELIEF, TRADEMARK AND
                        v.                   COPYRIGHT INFRINGEMENT, AND
  12 HEALTHYPETS, INC., a California         DAMAGES:
  13
     corporation; MANDEEP GRUMMAN            1. INJUNCTIVE RELIEF
                                             2. BREACH OF CONTRACT
  14
                            Defendant( s ).
                                             3. TRADEMARK INFRINGEMENT
  15                                            (15 U.S.C. § 1114)
                                             4. UNFAIR COMPETITION ((15
  16                                            U.S.C. § 1125(a))
  17                                         5. COPYRIGHT INFRINGEMENT (17
                                                U.S.C. § 501)
  18                                         6. UNFAIR COMPETITION (B&P
  19                                            §§ 17200 ET SEQ.
                                             7. TORTIOUS INTERFERENCE-
  20                                            CONTRACT
  21                                         8. TORTIOUS INTERFERENCE-
                                                ECONOMIC ADVANTAGE
  22
                   Plaintiff, The Garmon Corporation ("TGC"), through its undersigned
  23
        attorneys, alleges the following causes of action against Defendants, HealthyPets,
  24
        Inc. ("HPI") and Mandeep Ghumman, a/k/a Manny Ghumman ("Ghumman," and
  25
        collectively with HPI, the "Defendants"):
  26

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    1                                      NATURE OF ACTION
    2
              1.   This is a civil action seeking injunctive relief and damages for copyright
    3
                   infringement under the Copyright Act of 1976, 17 U.S.C. §§ 101 et seq.,
    4
                   federal trademark infringement and unfair competition in violation of the
    5
                   Lanham Act, 15 U.S.C. §§ 1051, et seq., and breach of contract, unfair
    6
                   competition, and other claims under California statutory and common law.
    7
                                                THE PARTIES
    8
              2.   TGC is a corporation organized under the laws of the State of California
    9
                   with its principal place of business at 27461 Via Industria, Temecula,
   10
                   California 92590.
   11
              3.   HPI is a corporation organized under the laws of the State of California
  12
                   with its principal place of business at 34501 Seventh Street, Union City,
  13
                   California 94587.
  14
             4.    Ghumman is an individual and a citizen of California who, upon
  15
                   information and belief, resides in Menlo Park, California.
  16
                                        JURISDICTION AND VENUE
  17
             5.    Subject matter jurisdiction is proper in this Court pursuant to 28 U.S.C. §§
  18
                   1331 and 1338, and 15 U.S.C. § 1121, because this case involves federal
  19
                   questions of copyright infringement under the Copyright Act of 1976, 17
  20
                   U.S.C.   §§   106 and 501, and trademark infringement and unfair
  21
                   competition under the Lanham Act, 15 U.S.C. §§ 1141(a) and l 125(a).
  22
             6.    Additionally, this Court has supplemental jurisdiction over TGC's state
  23
                   law claims pursuant to 28 U.S.C. § 1367(a).
  24
             7.    This Court may exercise personal jurisdiction over Defendants because
  25
                   they have sufficient contacts with the State of California. Ghumman is a
  26
                   resident of California, derives substantial revenue from goods sold in
  27
                   California, and continues to promote and sell TGC' s products without
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    1                 authorization to customers in California, and thereby has directed his
    2                 wrongful conduct to the citizens of California.         HPI is a company
    3                 incorporated in California and, on information and belief, derives
    4                 substantial California, and thereby has directed its wrongful conduct to the
    5                 citizens of California.
    6         8.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)
    7                 and ( c ), because Defendants transact business within this judicial district,
    8                 TGC's copyrights and trademarks have been infringed within this judicial
    9                 district, and the contract at issue provides for a forum-selection clause
   10                 whereby HPI agreed to litigate all disputes in Riverside, California. See
  11                  Cal. Civ. Proc. Code § 395(a).
  12          9.      Such contract further provides that it shall be governed by the laws of the
  13                  State of California.
  14                                            FACTUAL ALLEGATIONS
  15                Background
  16          10.     For more than 20 years, TGC has manufactured and sold through dealers
  17                  high-quality products to help ensure better lives for pets and other animals.
  18          11.     TGC manufactures a wide range of products for dogs, cats and horses.
  19          12.     TGC produces products at a Good Manufacturing Practice standards
  20                  facility, following the highest industry standards. Good Manufacturing
  21                  Practice standards are regulations promulgated by the U.S. Food and Drug
  22                  Administration ("FDA") under the authority of the Federal Food, Drug,
  23                  and Cosmetic Act. TGC's facility is FDA-registered and audited and is
  24                  third-party audited by Underwriters Laboratories.
  25         13.      TGC markets and sells its products through dealers authorized by TGC
  26                  ("Authorized Dealers") that not only promote and sell the physical
  27                  products marketed by TGC, but also provide certain services, abide by
  28                  certain restrictions and apply knowledge and experience in connection

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   1               with such promotion and sale, effectively creating offerings that go beyond
   2               the physical products themselves and help TGC and its Authorized Dealers
   3               differentiate their offerings from others (the "Enhanced Products").
   4         14.   For example, Authorized Dealers provide advanced customer service
   5               support and outreach regarding TGC' s products to end users through
   6               NATURVET University, which is an exclusive source of product
   7               education, training materials, and live support that has been developed and
   8               is maintained at great expense by TGC.
   9         15.   TGC provides Authorized Dealers with access to NATURVET University,
  10               and it assigns to its Authorized Dealers a dedicated TGC sales
  11               representative to facilitate the education and support provided to
  12               Authorized Dealers through NATURVET University.
  13        16.    In addition, Authorized Dealers are expected to comply with TGC product
  14               recalls and inventory stock rotation policies promulgated exclusively by
  15               TGC, which policies prohibit the sale of recalled and expired or unsaleable
  16               products in order to achieve the highest quality standards of TGC Products
  17               on the market.
  18        1 7.   In order to encourage compliance with such policies, TGC permits
  19               Authorized Dealers to participate in certain TGC-sponsored buy-back and
  20               stock rotation programs.
  21        18.    The services and restrictions characteristic of the Enhanced Products are
  22               also mandated in the agreements entered into by TGC and the Authorized
  23               Dealers (individually, the "Authorized Online Dealer Agreement") and
  24               encouraged elsewhere by one or more policies to which Authorized
  25               Dealers are subject.
  26        19.    The Authorized Online Dealer Agreement requires Authorized Dealers to,
  27               among other things: (a) promptly and effectively respond to questions and
  28               requests from end user customers; (b) represent TGC' s products in a

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       1               professional manner during the term of the contract; ( c) refrain from any
       2               conduct that could be detrimental to the reputation or integrity of TGC or
       3               its dealers; and ( d) promptly comply with any requests from TGC relating
       4               to any law, regulation or recall of any or all TGC products.
       5         20.   One of the policies to which Authorized Dealers are subject is TGC's
       6               Authorized Dealer Retail Price Policy (RPP) (the "Retail Policy"), a
       7               unilateral policy adopted by TGC that (a) prohibits unfair discounting and
    8                  free-riding on the efforts of other Authorized Dealers by establishing
    9                  minimum resale prices (individually, an "MRP" and in the singular or the
   10                  plural, "MRP(s)") for certain TGC products (the "Covered Products") and
   11                  (b) bans various other conduct with respect to some or all TGC products.
  12             21.   Under the Retail Policy, each Authorized Dealer is free to make its own
  13                   pricing and marketing decisions, but violations are penalized by denying
  14                   the violator access to TGC products either temporarily or indefinitely.
  15             22.   The Retail Policy (herein below, the "Policy") states that an Authorized
  16                   Dealer (herein below a "Dealer") violates such policy by conduct that
  17                   consists of one or more of the following:
  18                      a. using the terms "lowest price, the "lowest prices" or "prices too low
  19                         to show," any form of low-price guarantee or the substantive
  20                         equivalent ( as determined by TGC) of any or all of these terms or
  21                         concepts;
  22                     b. offering to match a lower price offered by another seller;
  23                     c. in connection with the advertising, promotion or sale of any or all of
  24                         the Covered Products: (i) a strike-through of any MRP(s) regardless
  25                         whether one or more other prices is or are shown, or (ii) the failure
  26                         to show a price for each of the Covered Products depicted, described
  27                         or to which a reference is otherwise made;
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       1              d. other than as expressly authorized by TGC, with respect to any or all
       2                 items of TGC products (or, if so designated by TGC, just one or more
    3                    particular items of TGC products), knowingly or negligently directly
    4                    or indirectly (i) advertising, promoting or selling in either or both of
    5                    the following ways: (A) outside the USA and Canada, and (B) online
    6                    in any fashion (unless and only to the extent each website used for
    7                    such purpose by such Dealer is expressly approved by TGC for such
    8                    use and which approval has not been rescinded by TGC in whole or
    9                    part) and (ii) selling in any or all of the following ways: (A) to anyone
   10                    for resale other than to any or all of the Authorized Dealers and TGC
  11                     ( such Dealer may drop ship to one or more end users (but not
  12                     resellers) on behalf of any or all the Authorized Dealers, so long as
  13                     such Dealer has not received TGC notice to the contrary which
  14                     rescinds the approval of TGC therefor), (B) to each individual and
  15                     entity appearing on the then-current Do-Not-Sell List (including
  16                    without limitation drop shipping on behalf thereof), except to the
  17                    extent as may be permitted therein and (C) except as otherwise
  18                    permitted by the Policy, to anyone other than the Authorized
  19                    Customers, including without limitation to the Special Accounts ( for
  20                    purposes of the Policy: ( 1) the "Authorized Customers" means actual
  21                    and prospective end user purchasers (but not resellers) of any or all
  22                    item(s) of the TGC products permitted by TGC and (2) the "Special
  23                    Accounts" means, collectively, each individual or entity so
  24                    designated by notice from TGC);
  25                  e. if an advertisement, promotion or other marketing vehicle
  26                    (regardless of the medium employed) used or done by or on behalf
  27                    of such Dealer (i) includes one or more trademarks, trade names,
  28                    service marks, logotypes, images or copy in which TGC claims

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       1                   rights ( collectively, "TGC Intellectual Property") and (ii) is not
       2                    consistent with either the guidelines for such use provided by notice
       3                   from TGC or is otherwise expressly approved in advance in writing
       4                   by TGC (the failure of such Dealer to receive such approval from
    5                      TGC within ten (10) days after submission to and receipt by TGC of
    6                      such advertisement, promotion or other marketing vehicle will be
    7                      deemed to be a disapproval thereof);
    8                  f. if a price for a Covered Product is shown in Internet advertising or
    9                      promotion or as part of an Internet sale permitted by the Policy and
   10                      (i) the price for such product does not appear on the initial webpage
   11                      mentioning, depicting or describing such product or (ii) such price
   12                      varies with respect to such product ( exclusive of applicable taxes
   13                      and all shipping, delivery and insurance charges) across any or all of
  14                       (A) such initial webpage, (B) the in-the-cart (or other container)
  15                       price, (C) the checkout price and (D) the substantive equivalent of
  16                       any or all of them as determined by TGC;
  17                  g. an invitation to click, rollover, call, e-mail, visit a location (such as a
  18                       website, store or showroom) or otherwise communicate to obtain a
  19                       price;
  20                  h. the promotion or sale to group purchasers, except at price( s) no less
  21                       than each applicable MRP;
  22                  1.   advertising or promoting a trade-in offer for any or all TGC product
  23                       or any other product(s) in connection with or applicable to any or all
  24                       of the Covered Products, regardless whether a specific trade-in price
  25                       or value is advertised or promoted;
  26                  J. except as otherwise directed by the Policy, on any or all proposals,
  27                       quotations, contracts, invoices and receipts provided to or prepared
  28                       for the benefit of any or all of such Dealer's potential and actual

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    1                     customers in connection with the offer or sale of any or all of the
    2                     Covered       Products   (individually    and   collectively,    "Customer
    3                     Communications"), the failure of such Dealer to itemize the price
    4                     charged for each of the products and services shown or referred to
    5                     on such Customer Communications, regardless whether such
    6                     Customer Communications contain(s) any reference to any or all of
    7                     the Covered Products; and
    8                 k. one or more tactics which TGC determines is or are intended to
    9                     circumvent application of the Policy.
   10        23.   To facilitate the operation of the Authorized Online Dealer Agreement and
  11               each related policy with respect to the marketing and sale of the Enhanced
  12               Products, resellers that sell to Authorized Dealers ("Distributors" and
  13               individually,    a    "Distributor")   enter    into   agreements      with   TGC
  14               (individually, the "Authorized Distributor Agreement").
  15         24.   In the ordinary course of its business, TGC maintains and provides to the
  16               Distributors on a weekly basis a "Do-Not-Sell List" of accounts that have
  17               been restricted from purchasing TGC's products.
  18         25.   Under the Authorized Distributor Agreement, a Distributor must, among
  19               other things, refrain from selling, supplying or drop shipping in any or all
  20               of the following ways to or on behalf of: (a) anyone for resale other than
  21               to any or all of the Authorized Dealers and TGC, (b) to any or all actual or
  22               prospective end user purchasers other than through such Distributor's own
  23               retail operation, if any (such Distributor may drop ship to one or more end
  24               user purchasers (but not resellers) on behalf of any or all of the Authorized
  25               Dealers, so long as the Distributor has not received notice from TGC
  26               which rescinds the approval of TGC therefor) and ( c) each individual and
  27               entity (i) that is one of the Special Accounts (as defined by TGC) nor (ii)
  28               appearing on the then-current Do-Not-Sell List (including without


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    1                  limitation drop shipping on behalf thereof), except to the extent as may be
   2                   permitted therein.
   3          26.      The approach of offering the Enhanced Products (i.e., high-quality
   4                  products coupled with certain services, particular restrictions, knowledge
   5                   and experience) has been developed by TGC over a significant period of
   6                  time and at considerable expense to TGC and provides a substantial
   7                   advantage to TGC and its Authorized Dealers over competitors.
   8         27.      Purchasers and potential purchasers of TGC products have come to expect
   9                  such approach from TGC and its Authorized Dealers.
  10                TGC's Intellectual Propertv
  11         28.      Many of the products that TGC manufactures and sells are under TGC's
  12                  federally registered trademarks NATURVET, VET CLASSICS, PET
  13                  ORGANICS and OVERBY FARM.
  14         29.      NATURVET is a federally-registered trademark in the United States
  15                  Patent and Trademark Office (the "USPTO") (Registration No. 2,002,613)
  16                  and is owned by TGC.         A copy of the NATURVET Certificate of
  17                  Registration is attached hereto as part of Group Exhibit A.
  18         30.      VET CLASSICS is a federally-registered trademark in the USPTO
  19                  (Registration No. 3,973,579) and is owned by TGC. A copy of the VET
  20                  CLASSICS Certificate of Registration is attached hereto as part of Group
  21                  Exhibit A.
  22         31.      PET ORGANICS is a federally-registered trademark in the USPTO
  23                  (Registration No. 3,703,952) and is owned by TGC. A copy of the PET
  24                  ORGANICS Certificate of Registration is attached hereto as part of Group
  25                  Exhibit A.
  26         32.      OVERBY FARM is a federally-registered trademark m the USPTO
  27                  (Registration No. 3,584,717) and is owned by TGC.             A copy of the
  28


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        1               OVERBY FARM Certificate of Registration is attached hereto as part of
     2                  Group Exhibit A.
     3            33.   Apart from TGC's       four pnmary trademarks (NATURVET, VET
     4                  CLASSICS, PET ORGANICS and OVERBY FARM), TGC also owns the
     5                  following 24 federally-registered trademarks, whose Certificates of
     6                  Registration are also included in Group Exhibit A, and which, along with
     7                  such primary trademarks are referred to in this Complaint individually and
     8                  collectively, as the "TGC Trademarks":
     9                     a. ALLER-911 (Registration No. 4,242,068);
    10                     b. ARTHRISOOTHE (REGISTRATION NO. 4,012,511);
    11                     c. ARTHRIEASE (REGISTRATION NO. 4,104,323);
    12                    d. BERRIER(REGISTRATIONNO. 3,330,783);
    13                    e. BITTER YUCK! (REGISTRATION NO. 3,919,928);
   14                     f. CALM DOWN (REGISTRATION NO. 3,919,904);
   15                     g. CRANBERRY COMFORT (REGISTRATION NO. 4,104,331);
   16                     h. CRANBERRY RELIEF (REGISTRATION NO. 4,124,048);
   17                     1.   GRASSSAVER (REGISTRATION NO. 4,012,590);
   18                     J. HIP FLEX (REGISTRATION NO. 3,610,474);
   19                     k. NO DIG! (REGISTRATION NO. 3,923,174);
   20                     I. NO GO! (REGISTRATION NO. 3,923,173);
   21                     m. NO MARK! (Registration No. 3,923,172);
   22                     n. NO SCOOT (Registration No. 4,225,288);
   23                     o. NO SCRATCH (Registration No. 3,923,171);
   24                     p. NO STAY! (Registration No. 3,919,903);
   25                     q. ODOKLEEN (Registration No. 1,053,138);
   26                     r. OUTTA MY BOX (Registration No. 5,167,411);
   27                     s. POTTY HERE (Registration No. 4,640,723);
   28                     t. QUIET MOMENTS (Registration No. 3,923,364);


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     1                    u. SEPTIDERM-V (Registration No. 4,015,759);
     2                    v. SHOWBATH (Registration No. 1,954,954);
     3                    w. STOOL EASE (Registration No. 4,428,270); and
     4                    x. YUCK! (Registration No. 3,970,332).
     5         34.     The TGC Trademarks are used by TGC in the marketing and sale of the
     6                 Enhanced Products.
     7         35.     TGC owns and operates the domain NaturVet.com (the "TGC Website").
     8         36.     TGC uses the TGC website in the ordinary course of its business to
     9                 advertise and promote the Enhanced Products.
    10         3 7.    TGC has filed applications with the United States Copyright Office for the
    11                 following copyright registrations, which are currently pending (hereinafter,
    12                the "TGC Copyright Works"):
   13                         Title of Work                  Copyright          Application
   14                                                      Application No.        Date
                    Photograph ofNATURVET
   15               QUIET MOMENTS Product                  1-6481413718      April 11, 2018
   16               Package
                    Photograph ofNATURVET
   17               GRASS SAVER Product Package            1-6477995191      April 11, 2018
   18               Advertising Text for NATURVET
                    GRASSSAVER Tabs                        1-6484634 796     April 12, 2018
   19               Advertising Text for NATURVET
                    Ear Wash Liquid                        1-6484364431      April 12, 2018
   20

   21
              38.     The TGC Copyright Works have been published on the TGC Website.
   22         39.     TGC is the true, rightful and sole owner of the TGC Copyright Works.
   23
              40.     TGC has complied with all statutory requirements necessary to secure
   24
                      federal copyright registrations for the TGC Copyright Works.
   25
              41.     The Copyright Works are original works of authorship and constitute
   26
                      copyrightable subject matter under the copyright laws of the United States.
   27
   28


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     1               The Dealer Agreement
     2
              42.      HPI is an online distributer and retailer of pet supplies and also a former
     3
                       Authorized Dealer of the Enhanced Products.
     4
              43.      Ghumman serves as Chief Executive Officer and Director of HPI.
     5
              44.      On or about April 19, 2016, TGC and HPI entered into the Authorized
     6
                       Online Dealer Agreement (the "Dealer Agreement"). A true and correct
     7
                       copy of the fully-executed Dealer Agreement is attached hereto as Exhibit
     8
                       B.
     9
              45.      The Dealer Agreement provides that HPI agrees to sell TGC products as a
    10
                       Nonexclusive Authorized Online Dealer, as such term is defined in the
    11
                       Dealer Agreement.
    12
              46.      Consistent with the marketing and sale of the Enhanced Products, the
   13
                       Dealer Agreement requires HPI to, among other things: (a) promptly and
   14
                       effectively respond to questions and requests from end user customers; (b)
   15
                       represent TGC's products in a professional manner during the term of the
   16
                       contract; ( c) refrain from any conduct that could be detrimental to the
   17
                       reputation or integrity of TGC or its dealers; and (d) promptly comply with
   18
                       any requests from TGC relating to any law, regulation or recall of any or
   19
                       all TGC products.
   20
              4 7.     During the time that HPI was an Authorized Dealer, HPI was subject to
   21
                       the Retail Policy and the controls included in it.
   22
              48.      The Dealer Agreement contains an integration clause stating that it, along
   23
                       with the TGC policies, constitute the entire understanding of the parties
   24
                       and supersedes all arguments, representations or statements between TGC
   25
                       and HPI.
   26

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     1         49.     After entering into the Dealer Agreement, HPI sold the Enhanced Products
     2                 bearing the TGC Trademarks, including, but not limited to, NATURVET,
     3                 VET CLASSICS, PET ORGANICS and OVERBY FARM.
     4         50.     HPI owns and operates the following websites ( collectively the "HPI
     5                 Websites"):       EntirelyPets.com;      HealthyPets.com;      N aturalPets.com;
     6                 EntirelyPetsPharmacy.com   and HeartlandVetSupply.com.
     7               TGC's Termination of the Dealer Agreement & HPI's Post-Termination
     8
         Obligations
     9

    10        51.      Prior to September 12, 2017, TGC indefinitely suspended HPI's access to

    11
                       TGC's products due to HPI's repeated violations of the Retail Policy.

    12        52.      The Dealer Agreement allows either TGC or HPI to terminate the contract

    13                 effective thirty (30) days after notice is given. Exhibit B, Section 5.

    14        53.      On September 12, 2017, TGC's Director of Sales notified Ghumman in

   15                  writing that TGC was terminating the Dealer Agreement (the "Notice of

   16                  Termination"). A true and correct copy of the September 12, 2017 email

   17                  from TGC to Ghumman is attached hereto as Exhibit C.

   18         54.      The Notice of Termination informed HPI that it was no longer an

   19                  Authorized Dealer ofTGC's products.

   20
              55.      Consistent with the Dealer Agreement, the Notice of Termination further

   21                  informed HPI that TGC would be willing to "buy back any re-sellable

   22
                       inventory" ofTGC's products.

   23
              56.      Pursuant to the Dealer Agreement, HPI's termination as an Authorized

   24                  Dealer became effective October 12, 2017, and on such date HPI was

   25                  prohibited from selling TGC's products anywhere, including, but not

   26                  limited to, on any of the HPI Websites or in stores or on third party

   27
                       websites.

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    1        57.   When     TGC       lawfully   terminated   the    Dealer   Agreement,    HPI
    2              simultaneously lost its status as an Authorized Dealer of TGC's products
    3              and certain post-termination obligations arose.
    4        58.   Under the Dealer Agreement, HPI continues to have post-termination
    5              obligations to TGC, including, but not limited to, the following
    6              ( collectively referred to as the "Post-Termination Obligations"):
    7                 a. Refrain from representing itself as an authorized dealer of TGC's
    8
                          products;
    9
   10
                      b. Discontinue the use of TGC's intellectual property, including its

   11                     trademarks, trade names, copyrighted images and text, trade dress
   12
                          and designs;
   13

   14                 c. Discontinue the advertising, promotion and sale of any of TGC's

   15                     products;
   16
                      d. Discontinue the use of anything which would give the impression
   17

   18                     that HPI is an authorized dealer, reseller or representative of or for

   19                     any and all ofTGC's products or has any affiliation with TGC;
   20
                      e. Refrain from knowingly or negligently directly or indirectly
   21

   22                     advertising, promoting or selling in any of the following ways:

   23                     online, to anyone for resale or to anyone other than authorized
   24
                          customers; and                                                           /
   25
   26                 f. As requested by TGC, sell the remainder of HPI' s inventory of
   27                     TGC' s products to TGC.
   28


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     1              Defendants' Infringing Activitv       and Breach        of Post-Termination
     2
         Obligations
     3

     4
              59.     HPI has failed to perform the Post-Termination Obligations.

     5
              60.     In the normal course of its business, TGC maintains an inventory of the

     6
                      TGC Products that it sold to HPI under the Dealer Agreement.

     7
              61.     As of the date of this Complaint, under the direction of Ghumman, HPI

     8
                      continues to advertise, promote, and sell hundreds of TGC' s products to

     9
                      end users on the HPI Websites without authorization and in breach of the

    10
                      Dealer Agreement.

    11
              62.     TGC is unable to trace some or all of the TGC Products that HPI continues

    12
                      to advertise, promote, and sell to the inventory that TGC sold to HPI under

    13
                      the Dealer Agreement.

   14
              63.     Upon information and belief, under the direction of Ghumman, HPI has

   15
                      purchased, and continues to purchase or continues to attempt to purchase,

   16
                      without authorization, TGC's Products from TGC's Authorized Dealers

   17                 and Distributors in violation of TGC's Post-Termination Obligations and

   18
                      in violation of TGC's third party Authorized Online Dealer Agreements,

   19
                      the Retail Policy, and the Authorized Distributor Agreements.

   20         64.     HPI's unauthorized advertisement, promotion and sale of TGC's products

   21
                      in violation of the Post-Termination Obligations gives the impression that

   22
                      HPI is an authorized dealer, reseller, or representative TGC's Enhanced

   23
                      Products even though the Dealer Agreement has been lawfully terminated.

   24
              65.     Upon information and belief, under the direction of Ghumman, HPI

   25                 continues to advertise, promote, and sell TGC 's products by passing them

   26                 off to consumers as the Enhanced Products but without actually providing

   27
                      the services, abiding by the restrictions or applying the knowledge and

   28                 experience characteristic of the Enhanced Products.


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        1          66.   Under the direction of Ghumman, HPI continues to use without
        2                authorization the TGC Trademarks and TGC Copyright Works on the HPI
        3                Websites in a manner that would lead a reasonable consumer to believe
        4                that HPI is an authorized dealer, reseller, or representative of TGC's
        5                Enhanced Products.
        6          67.   Under the direction of Ghumman, HPI continues to use without
        7                authorization TGC's intellectual property, including, without limitation,
        8                the TGC Trademarks, the TGC Copyright Works and TGC' s trade names,
        9                images, text, trade dress, and designs.
    10            68.    Under the direction of Ghumman, HPI continues to use without
    11                   authorization the NATURVET trademark in html source code and
   12                    metatags on the HPI Websites:
   13             69.    Under the direction of Ghumman, HPI continues to use the NATURVET
   14                    trademark without authorization in order to advertise, promote, and sell
   15                    numerous NATURVET products on the HPI Websites in violation of
   16                    HPI's Post-Termination Obligations.
   17             70.    Under the direction of Ghumman, HPI continues to use without
   18                    authorization the TGC Copyright Works as follows, without limitation, by
   19                    and by way of example:
   20

   21                      a. Photograph of NATURVET QUIET MOMENTS Product Package
   22                          (see Exhibit D, including comparison);
   23                      b. Photograph ofNATURVET GRASSSAVER Product Package (see
   24                         Exhibit E, including comparison);
   25

   26

   27

   28


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     1

     2
                  NaturVet & GreenTree           https·//www healthypets com/naturvet.html
              NaturVet products J EntirelyPets   https·//www entirelypets com/naturvet html
     3
              NaturVet products l EntirelyPets   http·//www.naturalpets.com/naturvet html
                  NaturVet & GreenTree           https://entrrelypetspha rmacy .com/naturvet htm I
     4                                           https 1/www amazon.com/s/ref=sr_il_ti_merchantrtems?
                                                 me=A2701FG002WN6Z&fst=as%3Aoff&rh=p_4%3ANaturVet&ie=UT
     5                                           F8&q1d=1522683248&1o=merch
                                                 anntems
     6                                           https·//www amazon com/s/ref=sr_pg_2?
               EntrrelyPets@Amazon.com:          me=A2701 FG002WN6Z&fst=as%3Aoff&rh=p_ 4%3ANaturVet&page=
                         NaturVet                2&re=UTF8&qrd=1522683365&
     7                                           lo=merchantitems
                                                 https.//www .amazon.com/s/ref=sr_pg_3?
     8                                           me=A2701FGD02WN6Z&fst=as%3Aoff&rh=p_ 4%3ANaturVet&page=
                                                 3&re=UTF8&qid=1522683400&
     9                                           lo=merchantitems
               Items in EntrrelyPets.com Pet     http·//stores ebay corn/entlrelypetsmedstore/_1 html?_dmd=2&_nkw=
                  Supplies store on eBay!        naturvet&rt=nc&_1pg= 192
    10

    11

    12
                            c. Advertising Text for NATURVET GRASS SAVER Tabs (see
    13
                                Exhibit F, including comparison); and
   14
                            d. Advertising Text for NATURVET Ear Wash Liquid (see Exhibit G,
   15
                                including comparison).
   16
              71.      Under the direction of Ghumman, HPI continues to use these and
   17
                       numerous other of TGC's copyrighted images and text, trade dress, and
   18
                       designs without authorization in order to advertise, promote, and sell
   19
                       numerous TGC products in violation of HPI's Post-Termination
   20
                       Obligations.
   21
              72.      Upon information and belief, Ghumman enjoys a direct financial benefit
   22
                       from HPI's infringing activity.
   23
              73.      Upon information and belief, Ghumman supervised, controlled, and/or
   24
                       directed the illegal infringing acts ofHPI.
   25
              7 4.     Upon information and belief, Ghumman was and continues to be actively
   26
                       involved in the unauthorized advertisement, promotion and sale of TGC's
   27
                       products bearing the TGC Trademarks.
   28


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        1         7 5.   TGC has demanded that Ghumman and HPI cease and desist from
     2                   violating the Post-Termination Obligations outlined without limitation
     3                   hereinabove; however, Ghumman and HPI have simply ignored both such
     4                   obligations and such demand. A true and correct copy of TGC's February
     5                    16, 2018 cease and desist letter to Ghumann and HPI is attached hereto as
     6                   Exhibit H.
     7                                         FIRST CLAIM
     8                          INJUNCTIVE RELIEF FOR BREACH OF CONTRACT

     9            76.    TGC incorporates by reference the previous paragraphs of this Complaint
    10                   as if fully set forth herein.
   11             77.    The Dealer Agreement is a valid and enforceable contract.
   12             78.    TGC performed its obligations under the Dealer Agreement, including
   13                    without limitation, providing written notice of termination to HPI.
   14             79.    HPI has materially breached the Post-Termination Obligations of the
   15                    Dealer Agreement.
   16             80.    HPI's breach of the Post-Termination Obligations of the Dealer
   17                    Agreement has proximately caused TGC to suffer injury for which there is
   18                    no adequate remedy at law, including without limitation the continuing
   19                    loss of goodwill associated with TGC, its products, and the Authorized
   20                    Dealers.
   21            81.     TGC has suffered and continues to suffer irreparable harm as a direct and
   22                    proximate result of HPI's breaches of the Post-Termination Obligations
   23                    because HPI' s wrongful conduct is continuous and ongoing.
   24            82.     TGC' s remedy at law is inadequate to compensate it for the damages that
   25                    HPI has caused and continues to cause as a result of its failure and refusal
   26                    to honor the Post-Termination Obligations because they are difficult to
   27                    approximate and are ongoing.
   28


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    1        83.   It is likely that TGC will succeed on the merits of this claim because the
    2              Post-Termination Obligations are unambiguous, and it is obvious to any
    3              reasonable person that HPI continues to flagrantly breach them.
    4        84.   Unless enjoined, HPI's breach will be detrimental to the reputation and
    5              integrity of TGC and its products.
    6                                      SECOND CLAIM
    7
                                 DAMAGES FOR BREACH OF CONTRACT
                                          (In the Alternative)
    8

    9        85.   TGC incorporates by reference the previous paragraphs of this Complaint
   10              as if fully set forth herein.
   11        86.   The Dealer Agreement is a valid and enforceable contract.
   12        87.   TGC performed its obligations under the Dealer Agreement, including
   13              without limitation, providing written notice of termination to HPI.
   14        88.   HPI has materially breached the Post-Termination Obligations of the
   15              Dealer Agreement.
   16        89.   As a direct and proximate result of the foregoing acts by HPI, TGC has
   17              suffered, and continues to suffer substantial damages not yet determinable,
   18              including loss of goodwill, loss of profits, and other compensable
   19              damages.
   20                                       THIRD CLAIM
   21                            FEDERAL TRADEMARK INFRINGEMENT
                                           (15 u.s.c. § 1114)
   22

   23        90.   TGC incorporates by reference the previous paragraphs of this Complaint
   24              as if fully set forth herein.
   25        91.   TGC owns, has the exclusive right to use, and actively uses the TGC
   26              Trademarks in the United States.
   27        92.   HPI has, without the consent or authorization from TGC, used and
   28              continues to use some or all of the TGC Trademarks, through its

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     1               unauthorized sale of TGC's products on the HPI Websites and other
     2               locations, and in interstate commerce.
     3         93.   HPI has made and continues to make misrepresentations about TGC' s
     4               products, their origin and HPI' s authorization to promote and sell them in
     5               HPI's advertising and promotion ofTGC's products.
     6         94.   HPI's misrepresentations actually deceived or tended to deceive the
     7               recipients ofHPI's advertising and promotion ofTGC's products.
     8         95.   HPI' s misrepresentations are likely to influence end users' purchasing
     9               decisions.
    10         96.   HPI's misrepresentations were made in interstate commerce.
   11          97.   The TGC products that HPI offers and sells are materially different than
   12                the Enhanced Products offered and sold by TGC through its Authorized
   13                Dealers, because HPI no longer provides the services, abides by the
   14                restrictions and applies knowledge and experience in connection with such
   15                promotion and sale as required or encouraged by the terms and conditions
   16                of the Authorized Online Dealer Agreement and the Retail Policy.
   17         98.    HPI's use of the TGC Trademarks and copying of TGC's product
   18                descriptions and images is likely to cause confusion, mistake and
   19                deception as to the affiliation, connection or association of HPI with TGC
   20                and the TGC Trademarks, and as to the origin, sponsorship or approval of
   21                HPI' s goods, services or commercial activities.
   22         99.    The wrongful and unauthorized conduct of HPI as set forth herein
   23                constitutes direct infringements of TGC's rights in the TGC Trademarks in
   24                violation of Section 32(1) of the Lanham Act, 15 U.S.C. 1114(1).
   25         100. HPI' s acts have been willful, intentional and with full knowledge that
   26                TGC owns and has the exclusive right to use the TGC Trademarks.
   27         101. As a direct and proximate result of the foregoing acts by HPI, TGC has
   28                suffered, and continues to suffer substantial damages not yet determinable,

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    1              including loss of goodwill, loss of profits and irreparable injury for which
    2              there is no adequate remedy at law.
    3                                         FOURTH CLAIM
                                           UNFAIR COMPETITION
    4
                              (Section 43(a) of the Lanham Act-15 U.S.C. § 1125(a))
    5

    6        102. TGC incorporates by reference the previous paragraphs of this Complaint,
    7              including Paragraphs 91 through 98 above, as if fully set forth herein.
    8        103. Defendants are misleading consumers by passing off TGC' s products
    9              bearing the TGC Trademarks as containing no material differences from
   10              the Enhanced Products that are offered only by TGC and its Authorized
   11              Dealers.
   12        104. Absent a disclaimer from HPI that HPI is not an Authorized Dealer of the
   13              TGC Products, a reasonable consumer of TGC' s products would believe
   14              that they are purchasing the Enhanced Products from an Authorized
   15              Dealer.
   16        105. The wrongful and unauthorized conduct of Defendants as set forth herein
   17              constitutes false designation of origin, false advertising, and unfair
   18              competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C.
   19              1125(a).
   20        106. Defendants' acts have been willful, intentional and with full knowledge
   21              that TGC owns and has the exclusive right to use the TGC Trademarks.
   22        107. As a direct and proximate result of the foregoing acts by Defendants, TGC
   23              has suffered, and continues to suffer substantial damages not yet
   24              determinable, including loss of goodwill, loss of profits and irreparable
   25              injury for which there is no adequate remedy at law.
   26 II I
   27 II I
   28 II I


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     1                                           FIFTH CLAIM
     2                                    COPYRIGHT INFRINGEMENT
                                            (17 U.S.C. §§ 106 and 501)
     3
     4         108. TGC incorporates by reference the previous paragraphs of this Complaint
     5              as if fully set forth herein.
     6         109. HPI has not received any license, assignment, or other authorization to
     7              exploit and reproduce the TGC Copyright Works.
     8         110. HPI has and continues to reproduce, make derivative works of, distribute
     9              and display the TGC Copyright Works, in violation of the Copyright Act
    10              of 1976, 17 U.S.C. § 501.
    11         111. HPI' s acts have been willful, intentional and with full knowledge that
   12               TGC owns and has the exclusive right to use the TGC Copyright Works.
   13         112. As a direct and proximate result of the foregoing acts by HPI, TGC has
   14               suffered, and continues to suffer substantial damages not yet determinable,
   15               including loss of goodwill, loss of profits and irreparable injury for which
   16               there is no adequate remedy at law.
   17                                       SIXTH CLAIM
   18                                 UNFAIR COMPETITION
                          (Cal. Bus. & Prof. Code §§ 17200 and 17500 et seq.)
   19
   20         113. TGC incorporates by reference the previous paragraphs of this Complaint,
   21               including Paragraphs 91 through 98 and 103 through 104 above, as if fully
   22               set forth herein.
   23         114. The wrongful and unauthorized conduct of Defendants as set forth herein
   24               constitutes unfair competition as defined by California Business &
   25               Professions Code,§§ 17200 and 17500 et seq.
   26         115. Defendants' acts have been willful, intentional and with full knowledge
   27               that TGC owns and has the exclusive right to use the TGC Trademarks.
   28


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     1         116. As a direct and proximate result of the foregoing acts by Defendants, TGC
    2               has suffered, and continues to suffer substantial damages not yet
    3               determinable, including loss of goodwill, loss of profits and irreparable
    4               injury for which there is no adequate remedy at law.
    5                                    SEVENTH CLAIM
    6
                              TORTIOUS INTERFERENCE WITH CONTRACT

    7          11 7. TGC incorporates by reference the previous paragraphs of this Complaint,
    8               including Paragraphs 91 through 98 and 103 through 104 above, as if fully
    9               set forth herein.
   10          118. TGC has enjoyed long and successful business relationships with its
   11               Authorized Dealers and Distributors that have contracted with TGC to sell
   12               TGC's products.
   13         119. The Authorized Online Dealer Agreements, the Retail Policy, the
   14               Authorized Distributor Agreements, and other agreements and policies
   15               between TGC and the Authorized Dealers and Distributors ( collectively,
   16               the "TGC Agreements") are valid and enforceable.
   17         120. Upon information and belief, Defendants know, or should know, of the
   18               existence of the TGC Agreements.
   19         121. Upon information and belief, through the wrongful and unauthorized
   20               conduct of Defendants as set forth herein, Defendants have willfully,
   21               knowingly, and intentionally induced Authorized Dealers and Distributors
   22               to breach the TGC Agreements.
   23         122. Upon information and belief, Defendants are usmg false pretenses to
   24               induce Authorized Dealers and Distributors to sell TGC products to HPI in
   25               breach of their obligations to TGC under the TGC Agreements.
   26         123. The conduct of Defendants is willful, malicious and unjustified, and such
   27               interference is neither privileged nor excusable.
   28


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    1        124. As a direct and proximate result of the foregoing acts by Defendants, TGC
    2              has suffered, and continues to suffer substantial damages not yet
    3              determinable, including loss of goodwill, loss of profits, and other
    4              compensable damages.
    5                                EIGHTH CLAIM
                   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
    6
                                      ADVANTAGE
    7

    8        125. TGC incorporates by reference the previous paragraphs of this Complaint,
    9              including Paragraphs 91 through 98, 103 through 104, and 118 through
   10              121 above, as if fully set forth herein.
   11        126. Upon information and belief, through the wrongful and unauthorized
   12              conduct of Defendants as set forth herein, Defendants have interfered with
   13              TGC's relationships with its Authorized Dealers and Distributors.
   14        127. The wrongful and unauthorized conduct of Defendants as set forth herein
   15              constitutes tortious interference with TGC's prospective business
   16              relationships with the Authorized Dealers and Distributors.
   17        128. The conduct of Defendants was done by wrongful means and for the
   18              purpose of harming TGC and its distribution system.
   19        129. By passing itself as an authorized dealer of TGC's products without
   20              offering the Enhanced Products, HPI is able to undercut the Authorized
   21              Dealers and Distributors on price, driving prices down with their unfair
   22              advantage and making it difficult for TGC, the Authorized Dealers, and
   23              Distributors to make a profit.
   24        130. The conduct of Defendants is willful, malicious and unjustified, and such
   25              interference is neither privileged nor excusable.
   26        131. As a direct and proximate result of the foregoing acts by Defendants, TGC
   27              has suffered, and continues to suffer substantial damages not yet
   28


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    1                determinable, including loss of goodwill, loss of profits, and other
    2                compensable damages.
    3                                        PRAYER FOR RELIEF
    4

    5
                   WHEREFORE, TGC seeks relief as follows:

    6        1.      That upon motion, the Court issue a preliminary injunction, enjoining and
    7
                     restraining Defendants, and their agents, employees, successors and
    8
    9                assigns, and all other persons acting in concert or conspiracy with HPI or

   10                affiliated with HPI in the following manner, and in accordance with the
   11
                     terms of the Dealer Agreement:
   12
   13                   a. Immediately cease: (i) advertising, promoting and selling any and

   14                      all TGC products, and (ii) any conduct that would give the
   15
                           impression that HPI is an authorized dealer, reseller,             or
   16
   17                      representative of or for any or all of such products or has any

   18                      affiliation whatsoever with TGC or such products.
   19
                        b. Refrain from knowingly or negligently directly or indirectly: (i)
   20
   21                      advertising, promoting, or selling TGC' s products online in any

   22                      fashion, unless and only to the extent each website and marketplace
   23
                           used for such purpose by such HPI is (along with each business
   24
   25                      name and storefront) approved in advance by TGC for such use and
   26                      which approval has not been rescinded by TGC's Notice of
   27
                           Termination, and (ii) selling (A) to anyone for resale other than, in
   28


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     1                     the case of permitted returns, to any or all of the dealers or
     2
                           distributors of TGC, and (B) to anyone other than customers that
     3

     4
                           TGC authorizes.

     5                 c. Refrain from purchasing or attempting to purchase any of TGC's
     6
                          products from any third party, including but not limited to
     7

     8                    Authorized Dealers and Distributors that have contracted with TGC

     9                    to sell TGC' s products;
    10
                       d. Refrain from using in any manner any the TGC Trademarks, any
    11

    12                    marks confusingly similar thereto, or reproductions, counterfeits,

   13                     copies or colorable imitations thereof in connection with any of
   14
                          TGC' s goods or services; and
   15

   16                  e. Refrain from otherwise infringing any ofTGC's trademarks, now or
   17                     hereafter existing.
   18
              2.    That the Court issue a permanent injunction making permanent the orders
   19

   20               requested in paragraph 1 of this Prayer for Relief.
   21         3.    That upon motion, the Court issue a mandatory injunction, ordering that
   22
                    HPI sell or cause the sale to TGC of and, as directed by TGC and at HPI's
   23

   24               expense, ship or cause to be shipped to TGC or its designee(s) each of the
   25               items in HPI's inventory of TGC's products (free of all liens, security
   26
                    interests, claims and encumbrances, other than that or those in favor of
   27
   28               TGC) which is acceptable (as determined by TGC) at a price equal to the


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    1              lowest price HPI would have paid to TGC, or each relevant dealer or
    2
                   distributor therefor or, if unpaid, in lieu of the amount due to TGC, or each
    3

    4
                   such dealer or distributor therefor, less in either case a reasonable

    5              restocking charge equal to the amount, if any.
    6
             4.    That upon motion, the Court issue a mandatory injunction, ordering that
    7

    8
                   HPI return to TGC any TGC products that are in HPI' s possession,

    9              custody or control.
   10
             5.    That TGC be awarded for Defendants' willful, intentional and malicious
   11

   12              trademark infringement and unfair competition, and, as set forth in 15

   13              U.S.C. 1117(a), the profits obtained by Defendants and the damages
   14
                   sustained by TGC by reason of Defendants' acts and omissions as alleged
   15

   16              herein.

   17        6.    That the Court award TGC its costs and reasonable attorney's fees
   18
                   pursuant to the Dealer Agreement and 15 U.S.C. 1117(a)(3).
   19

   20        7.    That the Court issue an order requiring Defendants to serve upon TGC,
   21              within thirty (30) days after issuance of the injunction requested above, a
   22
                   report, in writing, under oath, setting forth in detail the manner and form in
   23

   24              which HPI has complied with the injunction.
   25        8.    That, in the alternative to the injunctive relief requested in this Prayer for
   26
                   Relief, the Court enter judgment in favor of TGC and against HPI on the
   27

   28              First Claim, in an amount to be proven at trial, plus interest, other sums


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     1               due and owing, costs of suit, reasonable attorney's fees, and such other and
    2
                     further relief as this Court deems just and proper.
    3

    4
              9.     That, in addition to the injunctive relief requested in this Prayer for Relief,

    5                the Court enter judgment in favor of TGC and against Defendants on
    6
                     Claims VII and VIII in an amount to be proven at trial, plus interest, other
    7

    8
                     sums due and owing, costs of suit, reasonable attorney's fees, and such

    9                other and further relief as this Court deems just and proper.
   10
               10.   That the Court grant such other relief as it deems just and proper.
   11

   12

   13    DATED: April 19, 2018                  Respectfully submitted,
   14
                                                PLAINTIFF THE GARMON CORPORATION
   15

   16
                                                By: /s/ Stephen F. Moeller
   17                                               Stephen F. Moeller
   18                                               One of its Attorneys

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   24

   25

   26

   27
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           Int. Cls.: 3 and 5

           Prior U.S. Cls.: 1, 4, 6, 18, 44, 46, 50, 51 and 52
                                                                              Reg. No. 2,002,613
           United States Patent and Trademark Office                            Registered Sep. 24, 1996


                                              TRADEMARK
                                          PRINCIPAL REGISTER


                                               NATURVET



           GARMON CORPORATION (CALIFORNIA COR-           PREPARATIONS FOR DESTROYING AND/OR
             PORATION)                                   REPELLING FLEAS, MEDI CATED GELS,
           27461 B DIAZ ROAD                             CREAMS, AND OIN1 MENTS FOR TREATING
           TEMECULA, CA 92590                            PET SKIN CONDITIONS CAUSED BY FLEA
                                                         BITES AND ALLERGIC REACTIONS, IN
             FOR   NON-MEDICATED,        NON-VETERI-     CLASS 5 (US. CLS 6, 18, 44, 46, 51 AND 52).
           NARY PET GROOMING PREPARATIONS,                 FIRST USE 4-5-1995, IN COMMERCE
           NAMELY SHAMPOOS AND CONDITIONERS,             5-19-1995.
           IN CLASS 3 (US CLS. i, 4, 6, 50, 51 AND 52)
             FIRST USE 4-5-1995, IN COMMERCE               SER NO 74-693,337, FILED 6--26-1995
           5-19-1995
             FOR ANIMAL FOOD SUPPLEMENTS; PET            GEORGE POLOGEORGIS, EXAMINING AT-
           SHAMPOOS, POWDERS, AND GROOMING                TORNEY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 31 of 102 Page ID #:31




                                                                                    Vet Classics
        Reg. No. 3,973,579                                                GARMON CORPORATION (CALIFORNIA CORPORA1ION)
                                                                          27461 VIA INDUSTRIA
        Registered June 7, 2011                                           Tf-lv!FCULA, Cl\ 92590

        Int. Cls.: 3 and 5                                                fOR NON-MEDICA1ED GROOMING PREPARAfJON5, NAMJ:LY, PET '>HAMPOO
                                                                          CLEANSJ:RS, LOTIONS AND 5KIN AND COAT CARE PRODUCTS IN CLASS 3 (US CLS
                                                                          1, 4, 6 50, 51 AND 52)
        TRADEJ\:IARK
                                                                          I !RSI   uss 12-1-2005, IN COMl\lbRU 12   1-2005
        PRINCIPAL REGISTER
                                                                          FOR DIETARY SUPPLl:IIIENTS FOR PETS AND NUTRl1!0NAL SUPPLJ:MINTS fOR
                                                                          AROIRI1[C PIT<;, VfTr:RINARY PRfPARATIONS fOR PfTS ron U5f A<; A CALMING
                                                                          AID, VLlLRINARY PRLPARAllON, NAMILY, D!LlARY 5100L DLODORILLRl OR USL
                                                                          IN PETS, IN CLASS 5 (US CLS 6, 18, 44, 46, 51 AND 52)

                                                                          FIR 5T USF 12-1-2005, IN COMMr:RCf 12 I 2005

                                                                          TIII ll!ARK CONSISTS OF S1ANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                                                          TICULAR FON1, S1 YLE, SIZE, OR COLOR

                                                                          NO Cl AIM 15 MADC 1011!1 LXC! l)',J\I] Rl(,l!l ]() U5L "VLl' APAR! I ROM   mr
                                                                          MAl<KA5 SIJOWN

                                                                          SER NO 8)-141,290, FILED 9-29 2010

                                                                          CIIR.l~ l!NA ~OllRAL, LXAMININ(, Al JORN LY




       IJ1r<!lJ11111f1he llmted t.unt.~ Pm.. m mid l r r lem uk C>ffile
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 32 of 102 Page ID #:32




                                                                            PET ORGANICS

                        Reg. No. 3,703,952                                GARMON CORPORI\TION (CALII ORNJA CORPORA1l0N)
                                   Reaisteied Nov 3 2009 27461-B DIA?; ROAD
                                     "                   fLM.I:CfilA, CA 92'i90

                                                 Jnt. Cl.: 5
                                          FOR ANIMAL REPELLAN J.', NAMbLY, rD:lR.BAL-BAS[D NON-AEROSOL SPRAY FOR
                                          USP TN RPPfl JING PFTS FROM TRfATED ARPA'> HERBAl-BASFD NON-AEROSOL
                                          SPRAY FOR U'>F 1N DISCOURAGING PI:1 s FROM DIGGINCr IN TREATED AREAS
                              TRADEMARK IlbRllAL-UASLD NON-AERO':lOL SPRAY I OR USb IN DISCOURAGING PE1S !•ROM
                       PRINCIPAL REGISTER SCRATCHING TREAfLD SURfJ\CI:S, HERBAL-BASED NON-AEROSOL SPRAY FOR USb
                                          IN DISCOlffiAGING PFTS FROM CHT \NTNG ON TI<.FATFD SlffiFACFS HERBAL-BASFD
                                          NON-AFRO<;OI SPRAY l OR USF IN CAT MTNG ANIMAi S \VlffN SPRAYFD ONTO SUR-
                                          MCES OR IN IO AIR, ALL 01 1 llL l ORLGOJNG MADL JN PAR! OR JN WIIOLL WI fl-I
                                          ORGANIC INGRLDILNii:>, JN CLAS.', 5 (U .', CLS 6, 18 44, 46, 51 AND 52)

                                                                          FffiSTUSf 12-'ll 1978, IN COMMFRCr 12-'ll-1978

                                                                          ]]]L MARK CON.',JSJS 01 SIANDARD UlARAC !LR.', WUIIOU1 Cl AIM 10 ANY PAR-
                                                                          TICULARI•ONT STYLE SIZE OR COLOR

                                                                          SEC 2(1<)

                                                                          SIR NO 77-16~,233, IIJ r:D 4 2~-2007

                                                                          JOHN »w YFR, FXAMININb ATTORNEY




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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 33 of 102 Page ID #:33




                                                ALLER-911
        Reg. No. 4,242,068                                               GARMON CORPORATION (CAI IFORNIA CORPORATION)
                                                                         27461 VIA INDU'> I RIA
        Registered Nov. 13, 2012                                         TEMECULA, CA 92590

        Int. Cls.: 3 and 5                                               FOR PET PRODUC1S NAMFLY NON-M[l)JCJ\f[D SHAMPOOS AND coxr RINSES
                                                                         ANDNONMrDICA1rDIARWA'>Ill'> INClA'>'>1(lJ'> ([', I 4,6,50 51AND52)

        TRADEMARK                                                        FIRST USE 2-29-2012, IN COMMLRCI 2 29-2012

        PRINCIPAL REGISTER                                               fOR PfT PRODUCT<;, NAMLI Y, DICTA RY SUPPi rMJ NT<;, IIrRJJAL TOPICAi CRf AM<;,
                                                                         GLLS, ',ALVLS, SPRAYS, POWDJ R, 13ALM':, 1INIM1N1 AND O!NIMCNIS 10 Rt:LILVL
                                                                         AND PRJ~VENT ALLERGY SYMPT0v1S AND TO IMPROVI: CONDl1ION OF SKIN AND
                                                                         COAT INC LASS 5 (U S CLS 6, 18 44, 46, 51 AND 52)

                                                                         l lR':,1   usr 2-29-2012, IN COMMLRCI   2-29-2012

                                                                         THL MARK CONSISTS OF 5TANDARD CHARI\CTERS WI mou r CLAIM TO ANY PI\R-
                                                                         TICULAR FONT, st Yl r, SIZI:, OR COi OR

                                                                         ',J R NO 85 609,161, rILbD 4-26-2012

                                                                         HEAIIICR THOMPSON, EXAMINING ATTORNEY




       l)   reel 11 of1he United '-.t ite~P1 ent 11d Jin lemJ1k Offitl
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 34 of 102 Page ID #:34




                                       REQUIR El\1E '!T5 TO l\IAJNT.'\ l'l YOUR rE DERAL
                                               TRAD BM '\RK REGJSTRATIO J\

                 WARNING: YOUR REGISTRATIO N W ILL BE CANCELLED IF YOU DO NOT FIL E THE
                        DOCUl\1E NTS BELOW DURING THE SPECIFIE D TI M E PERIO DS.

            R eq uirem en ts in the F il vt Ten Ye,n ,"
            W h at and W h en to F il e:


                        First Fi/mg Deadline: You must file a Declaiauon of Use (01 Excusable Nonuse) between the
                       5th and 6th years anei the iegrstrauon date See 15 USC §§1058, 1141k If the declaianon rs
                       accepted, the iegisuanon will continue Ill force foi the remainder of the ten-year pcnod, calculated
                       tiom the registration date, unless cancelled by an 01de1 ot the Comnussroner f01 Trademarks 01 a
                       federal court

                       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                       Apphcauon Ior Renewal between the 9th and I 0th years after the rcgrsuation date +
                       See 15 USC §1059

            Requh ements in Successive Ten-Year Pei iodf"
            Whar and When to File:

                       You must hie a Declaration ot Use (01 Excusable Nonuse) and an Apphcauon f01 Renewal between
                       every 9th and torh-year penod, calculated Iiom the 1eg1shc1t1011 date *

            G1 ace Pei iod Filing~*

            The above documents will be accepted as tunely if filed w 1th111 six months after the deadlmes listed above
            with the payment of an addruonal tee


              The United States Patent and      1) ademark Office (USPTO) will NOT send you ,my futui e notice 01
                                                reminder of these filing i cqnh ements.

            * ATTENTION MADRID PROTOCOL REGISTRAJ\ TS: The holder of an mtcrnanonal rcgisuauon v, uh
            an extension of protcctron to the Umtcd States under the Madnd Protocol must tnncly Irle the Dcclatauons
            of Use (or Excusable Nonusc) ictcrcnccd above directly with the USPTO The umc periods for 111mg arc
           based on the U S icgrsuanon date (not the mtcrnanonal I egisnnnon date) The dead Imes and grace pcnods
            for the Declarations of Use (01 Excusable Nonuse) ate idcnucal to those for nationally issued regisuanons
            'Jee 15 U S C §§1058, 114 lk However, owners of mteinanonal 1eg1st1at10ns do not file renewal appltcat10ns
           at the USPTO Instead, the holdc1 must file ,1 1cnewal of the u11de1Iymg mte1nattonal 1eg1sllallon at the
           Inte111at1011al Bureau of the Wo!ld Intellectual P1ope1ty 01gamzat1on undc1 A1t1cle 7 ot the .1\ladnd Piotocol,
           beime the exp11<1t1011 oi each ten-ye,1r teun or ptotecuon, calcu!dted hom the ddte of the 111tcrn,1t10n,1l
           1eg1strc1110n ~ee I'> USC lj 1141 J For mo1e mfonnat10n ,md 1cnewal forms fo1 the m1e1n.it1011<1lieg1str.it1on,
           see http 11www w1po 111t/mad11d/en1

           NOTE: Fee, anti reqmrement.. fo1 m,nntainmg reg1,trat10m ,u e \ubject to change. Ple.i,e chcd< the
           LSPTO website fo1 fu1 ther info, m,1tion. With tile exception of I enc" .11 ,1pphc.ition\ fo1 1 cghte1 eel
           exten~ion~ ofp1otcction, :i,ou c,111 lile the 1egi~tr.1tion m.iinten,lllce document~ refc1enced nbo~e onlme
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           :it http /1'1 uspto gov




                                                      Page 2 /RN# 4,242,068
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 35 of 102 Page ID #:35




                     ARTHRISOOTHE
       Reg. No. 4,012,511         GARMON CORPORA1 ION (CALIFORNIA CORPORATION)
                                  27461 VIA INDU', I RIA
       Registered Aug. 16, 2011   rEMr:cuLA, cA 92590

       Int. CI.: 5                I OR FOOD SUPPLEMENTS FOR HORSES, PETS AND LIVESTOCK, NUTIU !IONAL
                                  ~UPP! J Ml NJ', fOR ARrIIRITIC I!OR'>l=,, PEf'S, AND LIVL', JOCK, IN Cl A',', 5 (U ',
                                  CLS 6, 18, 44, 46, 51 AND 52)
       TRADEMARK
                                  FIRST USE 7-1 1996, IN COMMERCE 7-1-1996
       PRINCIPAL REGISTER
                                  IIIL MAIU( CON':ll~lS 01 S1ANDARD CIIARAC1ERS WllllOUl CLAIM 10 ANY PAR-
                                  TICULAR FONT, S l YLE, SIZE, OR COLOR

                                  <;FR NO 80-226,811, I !LED I 26 2011

                                  IULIE WATSON, EXAMINING AT fORNL Y
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 36 of 102 Page ID #:36




                                       REQ UI REM EN TS TO M AIN TAI'I YOU R FEDERA L
                                                TRA DEM A RK REGISTRATI O N

                WAR"t\ lNG : Y O CR REG ISTRATION W IL L BE CANCELLED IF Y OU DO NOT FILE THE
                          DO CUM ENTS BELOW DU RI N G TH E SPECIFIED TI M E PERIO DS.

            Requirem ents in the F u st Ten Year. "
            \\ hut and W hen to File:


                        Fil vt Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                       'ith and 6th years after the regisnauon date See 15 USC §§1058, 11411 If the dcclarauon is
                       accepted, the 1 cgisn anon "'111 contmue 111 force foi the iemainder of the ten-year pcncd, calculated
                       ham the icgistratiou date, unless cancelled by an 01de1 of the Comnussionei for Trademarks 01 a
                       Iedeial court

                       Second Filing Dead/me: You must file a Dcclarauon of Use (or Excusable Nonuse) and an
                       Applicauon lor Renewal between the 9th and 10th years after the rcgisuanon date i
                       S'ee15USC §1059

            Requ II cmenrs in Succcssrve Ten-Yeai Per iuds=
            What and When to File:

                       You must filed Decl.uanon of Use (01 Excusable Nonuse) and an Application tot Renewal between
                       every 9th and l Oth-year penod, calculated from the 1eg1st1<1tt011 date •

            Grace Pei iod Filing~*

            The above documents will be accepted as tnnely if filed w1th111 six months after the deadlmes listed above
            \\ nh the payment of an adduional fee


              The Lmted State, Patent and Trademai k Office (USPTO) will NOT send you any future nonce 01
                                          1 ennnder of these filmg 1 equlrements,


            "o\TTEI\ TIOI\ J\IADRID PROTOCOL REGISTRANTS: The holder of an mtcrnauonal rcgrsuatron wnh
            an extension ofpiotccuon to the Umtcd States under the Madud Protocol must 11111ely Ille the Dcclarnuons
            ol Use (or Excusable Nonusc) referenced above dncctly with the USPTO The tune peuods for fllmg arc
            based on the U S icgisuauon date (not the mtcrnatioual icgrsu anon date) The deadlines and gmcc pcucds
           for the Declarations of Use (01 Excusable Nonusc) are idcnucal to those for nationally issued icgrsn at1ons
           See 15 U S C §§ I 058, 114 lk Howe, e1, owne1 s of mtemat10nal reg1stra11011s do not file 1 enewal apphcat10ns
           dt the USPTO Instead, the holde1 must file a 1enewal of the underlymg mte1nallonal 1eg1s11at1011 c1t the
           International Bu1cau oJ the Wo1ld Intellectual P10pe1ty 01ga111zat1011 unde1 A111cle 7 ol the Mad11d P1otocol,
           bclo1e the C"{p11c11!011 of ec1ch ten-ye,n te1m of p1otect10n, cc1lculated horn the d<1te of the mtc111,1llonc1l
           1 eg1st1 <1t1011 ~ee I 'i U S C I} 1141 J For mo1e mfo1 m<1t1011 ,md renew,1! io1ms 101 the mtcm<1!1onalieg1str<1t1011,
           see http 11\1 ,~,\ w1po mt/mc1d11d/e1v

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           LSP ro "cl>sitc for fu I t11c1 infoi mnt10n. With tl1e exceJ>t1011 of I ene,, al ,lp])lication, for regMe1 cd
           e,ten,1011~ of p10techon,, ou t.tn file the I cg1~t1 .ition m,1mte11,mce clocnment\ 1 efe1 enccd abo~e on line
           at http/,\\ \H, uspto gov




                                                       Page 2/RN#4,012,5ll
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 37 of 102 Page ID #:37




                                             ARTHRIEASE
        Reg. No. 4,104,323                                                GARMON CORPORATION (CALIFORNIA CORPORATION)
                                                                          27461 VJA INl)lh !RIA
        Registered Feb. 28, 2012                                          TCMECULA, CA 92590

        Int. CJ.: 5                                                       fOR FOOD SUPPlI:Mr:NJS fOR 1-IORSI:S PL!S, AND LIYES10CK, NUlRIT!ONJ\L
                                                                          5UPPLEMrN1 ', fOR ARJllRI J JC I JOR',J '>, Pl l <;, AND LIVI '> l OCK, IN CLJ\ ':,~ 5 (US
                                                                          CU:, 6, 18, 44, 46 ) I AND 5'.!)
        TRADEMARK
                                                                          FIRST USE 7-1-1996, IN COMMCRCf 7-1-1996
        PRINCIPAL REGISTER
                                                                          nn. MARK CON51!:.f!:, 01 ',JANDARD UIJ\RAC!l RS WllllOU! CLAIM lOANY PAR-
                                                                          TICULAR FONT, 'HYLE, SIZE, OR coi OR

                                                                          5ER NO 85-227,820, FILED I 27 2011

                                                                          JULI!: WAfSON, CXAMINING Af fORNJ:Y




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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 38 of 102 Page ID #:38




                                      REQUI RCl\IE \fTS TO M <\INTAl\f YOUR FEDERAL
                                              TRADEMARK REGISTRATlO l\

                WARNING: YOUR REGISTRATIO N W ILL BE CANCELLED IF YOU DO l\OT FILE THE
                       DOCUM ENTS BELOW DURING TJIE SPECIFIE D TIM E PERIO DS.

            Requirem entv in the Fu ~t Ten Yc,11 ~"
            What and When to File:

                        Finl Filing Deadline: You must file a Declaiatron of Use (01 Excusable Nonuse) between the
                       5th and 6th years aftc: the iegistiauon date See I~ USC §§1058, 1141k If the declaianon is
                       accepted, the iegisuauon will connnuc m force foi the iemamdei of the ten-year peuod, calculated
                       uom the iegistrauon date, unless cancelled by an 01de1 of the Cornnussionei tot Tiademaiks 01 a
                       tederal court

                        Secom! Filing Delli/line: You must file a Declaration of Use (or Excusable Nonusc) and an
                       Apphcauon for Renewal between the 9th and l Oth years after the rcgrsuauon date .i.
                       See 15 USC §1059

            Requirements in Succcsslvc Ten-Year Pci lorls=
            What and When to File:

                      You must nle a Declaration of Use (01 Excusable Nonuse) and an Apphcation for Renewal between
                      every 9th,md luth-yc,u penod, calculated from the iegisuauon date ~

            Grace Period Fillngs"

            The above documents will be accepted as nmely if filed witlnn six months after the deadlines listed above
            with the payment of an addruonal fee


              The United State, Patent and T1 ademar k Office (USPTO) ,lill "IOT vend you ,rny futui e notice or
                                           reminder of these filing requh emenrv,

            *ATTEl\TIONMADRID PROTOCOL REGISTRAJ\ TS: The holderofan mtcrnauonal rcgisuatron with
            an extension of'protccuon 10 the United States under the Madud Protocol must tnncly file the Decimations
           ol Use (or Excusable Nonusc) referenced above dncctly \\ uh the USPTO The tune periods for filing arc
           based on the US icgisnauon date (not the 1111c11rn11onal icgrsuanon date) The dcadlmcs and grace pcnods
           foi the Declaratrons of Use (01 Excusable Nonuse) ate rdentical to those 1o1 nanonally issued registrations
           See 15 USC §~1058, 1141k However, owners ofmtemattonal icgrstranons do not file renewal applicatrons
           at the USPTO Instead, the holder must file a renewal of the unde,lymg mternat1011al 1eg1s11ation at the
           Inte1nat1onal Bu1eau ot the Wotld Intellectual P1opcny 01g,m1Lat1011 unde1 A1t1clc 7 of the Mad11d P1otocol,
           befo1c the e,.p11<1t10n of e<1ch ten-ye,u tenn of p1otecnon, c<1lculJted horn the d<1te of the mtemat10nal
           1eg1str<1!Ion See Vi U SC <} 1141 J Fm more mfotm,111011,md renewc1I forms fo1 the mtemc1t1011al!eg1str<1!Ion,
           see http /;www w1po mtfnMdnd/en/

           NOTE: Fee, and I cquit emenh for nuintaining I eg1~tI .ition~ ,11 e ,ubject to ch,mge. Ple,1,e check the
           USPTO website fo1 f111 the1 mformation. With the C'<cept1on of I enew.ll ,lpphc,Hion~ for I cgMet eel
           extemwn~ of 1>1 otcctJon, you c,111 rile the I eghtration m,unten,rncc document, , efe1 enccd ,1boH on line
           at http //www uspto gov




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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 39 of 102 Page ID #:39




                                                                                                   BITTER YUCK!

        Reg. No. 3,919,928                                                                       GARMON CORPORJ\1 ION (CALIFORNIA CORPORJ\110N)
                                                                                                 27461 VIA INDUSTRIA
        Registered Feb. 15, 2011                                                                 TI:MCCULA,CA 92590

            Int, Cl.: 5                                                                          FOR ANIMAL REPELLANT NAMELY, HERBAL BASED NON-AEROSOL SPRAY FOR
                                                                                                 USE IN DISCOURAGING PETS FROM CI-Il1WINO ON TRF ATFD Slffi.FACFS, IN CLASS 5
                                                                                                 (US CLS 6, 18, 44, 46 51 AND 52)
        TRADEMARK
                                                                                                 FIRST USE 12-31-1999, IN COMMERCE 12-31-1999
        PRINCIPAL REGISTER
                                                                                                 THF MARK CONSISTS OF STANDARD CHARACTFRS wrrnotrr Cl AIM TO ANYPAR-
                                                                                                 IICULA!UON !, s l YLE, srzi, OR COLOR

                                                                                                 SFR NO 85120114,FIIFD811-20!0

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 40 of 102 Page ID #:40




                                    CALMDOWN
       Reg. No. 3,919,904         GARMON CORPORATION (CALIFORNIA CORPORATION)
                                  27461 VIA TNDUSTRIA
       Registered Feb. 15, 2011   TI:MI:CULA, cA 92590

       In t. CJ.: 5               FOR ANIMAL REPELLANT, NAMELY, HERBAL-BASED NON-AFROSOL SPRAY FOR
                                  USF IN CALMING ANIMALS WHEN SPRAYJ<D ONTO SURFACFS OR TNTOAIR, IN Cl ASS
                                  S(US CLS 6,18,44,46,51AND52)
       TRADEMARK
                                  FIRST USE J.J.J985, INCOMMFRCF J.J.J98)
       PRINCIPAL REGISTER
                                  THE MARK CONSISIS OF STANDARD CHJ\RJ\CTFRS \VITI-TOUT CLAIM 10 ANYPAR-
                                  lICULAR ron 1, STYLF, SILL, OR COLOR

                                  SFR NO !\5-102,410, rn FD 8 6-2010

                                  MIC'l!Al.\L KLAllNG, hXAMlNING Al 1 ORNLY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 41 of 102 Page ID #:41




                                                      CRANBERRY COMFORT


       Reg. No. 4,104,331                                                            GARMON CORPORATION (CAI IrORNIA CORPORA1 ION)
                                                                                     27461 VIA INDl/', I RIA
       Registered Feb. 28, 2012                                                      TEMJ:CULA. c« 92590

       Int. Cls.: 5 and 31                                                           FOR ANIMAL Nl/TRACIUflCAL<; FOR USE AS A DIETARY SUPPLEMENT, PET FOOD
                                                                                     LONJAINJN(,A IIICRAPI l/ I IC !NORI DII NI, Pl 1 1 IU'Al CONIAINJNGA Jill RAP! UT!(
                                                                                     INOREDIENJ, ])]LlARY '>LIPPLtMLNI'> AND 1000 !OR PL!!> JHAJ PROMOJL A
       TRADEIVJARK                                                                   HEALfJIY URINARY 1 RACT, -\LL THE AFOREMENTIONED GOODS MADE IN WHOLE
                                                                                     OR SUBSTANTIAL PART OF CRANBLRRY J XJRACT, IN CLM,$) (l/ S CLS 6, 18, 44, 46,
       PRINCIPAL REGISTER                                                            51 AND 52)

                                                                                     l IRST U<;E 1-1-1997, IN COM;1!ERCf J.J 1997

                                                                                     FOR ANIMAi fOOD,PFTFOOD rn IRfAf<;,OR(JJ\NJCPHlOOD,AII THFAfORE
                                                                                     Ml N IIONJ D GOOD'> MADJ: IN WI JOI J OR '>IJB', JAN 1 JAi PARJ 01 CRANBJ RRY I X-
                                                                                     TRA Cf, IN CLA5S 11 (US CL', l AND 46)

                                                                                     FIR'lf USE 1-1-1997, IN COMMIRCJ: 1 1-1997

                                                                                     JHE M-\RK CON',!$!'> Of '>IANDARJl U!ARALJJ R$ WJJIIOUJ CLAIM JO ANY PAR-
                                                                                     IICULAR FONT 5TY11 , SIZL, OR COLOR

                                                                                     NOUAIMl'>MAI)! !Ollll l>sUU<,IVJ RJ(,!ll !Ol/',I 'CRANillRRY",APARJJROM
                                                                                     l!IL MARK Ac. ~llOWN

                                                                                     SER NO 85-229,118, FJL[D l 28 2011

                                                                                     TIJI II WAI ',ON, LXAMININ<, Al IORNI Y




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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 42 of 102 Page ID #:42




                                     REQUIR El\1E 'ff S TO M AlNTAI'i YOUR FEDERAL
                                             TRADEM ARK REGISTRATIO I\

                WARKING : YOUR REGISTRATIO N W ILL BE CANCELLED IFYOU DO I\OT FILE THE
                       DOCUM ENTS BELOW DURING THE SPECIFII:D TI1\1E PERIO DS.

            Requirem ents in the Fit~t Ten Yem \*
            W hat and W hen to File:

                       Ftrst Filing Deadline: You must file a Dccla: anon of Use (01 Excusable Nonuse) between the
                      5th and 6th years after the iegistratron date See 15 USC §§1058, 1141k If the declaianon rs
                      accepted, the iegistiation will continue in force for the iemamdei of the ten-year penod, calculated
                      nom the registration date, unless cancelled by an 01de1 of the Commissioner toi Tiademaiks ma
                      tedei di court

                      Second Filing Deadlme: You must hie a Declaration of Use (01 Excusable Nonusc) ancl an
                      Applrcauon lor Renewal between the 9th and 10th years alter the rcgistratron date +
                      See 15 USC §1059

            Requirements in Successive Ten-Ye.n Periods-
            What and When to File:

                      You must file ,1 Declaration of Use ( 01 Excusable Nonusc) ,md <111 Apphcation for Renewal between
                      every 9th and luth-yeai peuod, calculated !10111 the 1eg1sh<1t1011 date+

            Grace Periocl Filmgs>

            The above documents will be accepted as timely if filed witlun six months aftei the deadhnes hsted above
            with the payment of an addmonal fee


             The United States Patent and Trademm k Office (lJSPTO) will NOT send             )OU   any futui c notice 01
                                          1 emmder of these filing I equh ements.


            "ATTENTIOI\ MADRID PROTOCOL REGISTRAi\TS: The holder ol an nucmanonal rcgrsuauon with
           an extension of protccuon to the Unned States under the Madud Protocol must umcly file the Dcclaiauons
           of Use (or Excusable Nonusc) referenced above ducctly with the USPTO The tune periods for fllmg arc
           based on the US 1cg1st1at1011 date (not the mtcmanonal 1cg1st1at1011 date) The deadlines and grace pcnods
           for the Declaratrons of Use (01 Excusable Nonuse) me idenncal to those for uationally issued icgrsuanons
           See 15 U S C §§ 1058, 1141k However, owners of rnteinatronal registiauons do not file renewal applicanons
           at the USPTO Instead, the holder must file a renewal of the underlying mte1nat1011al 1eg1s1Iat1011 at the
           International Bmcau of the Wo1ld Intellectual P1opelly 01ga111za1lon undc1 A111cle 7 of the Mnd11d P10toc0I,
           before the expndhon of e<lch ten-ye,11 tenn of p1otcct1on, calc11l.ited horn the d,lle ot the mte111.i!Jon.il
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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 43 of 102 Page ID #:43




                                                  CRANBERRY RELIEF

       Reg. No. 4,124,048                                                            GARMON CORPORATION (C,\I l}ORNIA LORPORJ\TION)
                                                                                     27461 VIA INDU', l RIA
       Registered Apr. 10, 2012                                                      TEMECULA, cA 92590

       Int. Cls.: 5 and 31                                                           FOR ANIMAL NUTRACfUTICALS FOR USL A', A DIL1ARY <;UPPLEMENT, PET FOOD
                                                                                     CON IAININC, A ll!LRAPI lJ l lC!NC,RI DII NI Pl I 1 RI Al CON JAINJN<, A 1111 RAP! U IJC
                                                                                     INGRbD!bN I, Phi I 001) AND DJ! !ARY '>LIPPLl:-. \1bN I'> !HAI PROMO IL A HbAl lHY
       TRADEl\ilARK                                                                  URJNARY IRACT, AlL THE AFOREMENIIONLD GOOD<; MADE IN WHOLE OR SUB-
                                                                                     S fANTIAL PAR! 0} CRANBERRY i-xi RACT, IN CLASS 5 (US CLS 6 18 44, 46, 51 AND
       PRINCIPAL REGISTER                                                            52)

                                                                                     fIRST USE 1-1-1997, IN COMMrRCf I 1-1997

                                                                                     l OR ANJM/\1 TOOD, !'FT roon, PET TRFAT5 ORCiANIC PFT FOOD ,\] I or llIE
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                                                                                     EXTRACf, IN CLASS 'H (US CLS I AND 46)

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                                                                                     JIILMARKAi> '>IIOWN

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 44 of 102 Page ID #:44




                                      REQUIREME'ITS TO I\JAJN n\.l'I YOUR rEDERAL
                                             TRADEMARK REGISTRATION
                WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO l\OT FILE THE
                       DOCUME'ITS BELO\V DURING THE SPECIFIED TIME PERIODS.

            Requirements in the Fh st Ten Ye111~~
            Wh.it 1111d When to File:

                        Finl Filing Deadline: You must file a Declai anon ofUse (or Excusable Nonuse) between the
                       5th and 6th years after the tegisnation date See 15 U S C §§ I 058, 1141.k If the declaration is
                       accepted, the regrstranon will conunue in force foi the iemamdei of the ten-year penod, calculated
                       ham the registration date, unless cancelled by an 01de1 ot the Comnussronei toi Trademarks 01 a
                       Iedeial court

                       Second Fi/mg Deadline: You must file a Declaration of Use (or Excusable Nonnse) and an
                       Apphcauon for Renewal between the 9th and I 0th years after the rcgistranon date -"
                       See 15 USC §1059

            Requh cmcnts in Successive Ten-Year Pei iorls"
            What and When to Ftlc:

                       You must file a Decl<1rc1t1011 ot Use (01 Excusable Nonuse) ,111tl an Applicauon toi Renewal between
                       every 9th and l Oth-ye.u period, calculated Irom the 1eg1st1<1t1011 date -1-

            G1 ace Period Filmgs"

           The above documents will be accepted as tnnely if'filed w1th111 six months after the deadlines listed above
           with the payment at an additional tee


             The United States Patent and Trademm k Office (l,SPTO) will '/OT send you              ,Ill~   futm e notice or
                                          1 eminder of these filmg requir cments,

            * ATTENTION MADRID PROTOCOL REGISTRAJ\ TS: The holder of an nucmauonal rcgrsuauon w Ith
           an extension of protecuon to the Unucd States under the Madud Protocol must umcly Ille the Dcclaiauons
           of Use (or Excusable Nonusc) referenced above dncctly with the USPTO The time pcuods for Iilmg are
           based on the U S rcgisnatron date (not the mtcmatronal icgisn anon date) The deadlines and grace pcnods
           for the Declaianons of Use (01 Excusable Nonuse) me rdenncal to 1hose Ior 11at1011ally issued 1eg1st1atlons
           See 15 U S C §§1058, 114 lk Howe,e1, O\vne1s of mternat10nal rcg1st1a11ons do not file 1enewal appl!catwns
           at 1he USPTO Instead, the holde1 must file a 1enewal of the underlvmg mte111at10nal 1eg1stiahon at the
           Inte111a1Ional Bmeau oi the Wo1 Id Jntellectual P1ope11y 01gamzat10n unde1 A111cle 7 of the Mad11d P1otocol,
           befo1e the expn.it10n at e,1ch ten-ye<11 tenn ot p10!ectton, c,1lcul,1ted !Jom the d,lle of the mte1n<1110n<1I
           1eg1strc1t10n See l 'i US C 91141 J For mo1e mfonn<1t10n c1nd renewdl forms tor the mtern<1t10n,1l 1eg1str<1t10n,
           see http ;;www w1po mt,mc1d11d/en/

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           l.JSPTO web~itc fo1 fu1 the1 info1 m.Hion. With the e"ception of I enc" ,11 ,1pphcalion~ for I egMered
           e-.:ten5ions of p1otection, you c,111 file the 1 egbt1 ,ltion m.iintcn,rncc document, 1 cfe1 enced ,1bove on line
           at http //www nsp1o gov




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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 45 of 102 Page ID #:45




                                                    GRASSSAVER
        Reg. No. 4,012,590                                                    GA Rid ON CORPORATION (CALIFORNIA CORPORATION)
                                                                              27461 VIA INDU',JRJA
        Registered Aug. 16, 2011                                              TEMrcur A, CA 92590

       ln t, CJ.: 5                                                           FUR DIETARY SUPPLEMCN1 fOR PETS, IN CLASS 5 (US CLS 6, 18, 44 46, 51 AND 52)

                                                                              1 !R'>l USh 11-1-1996, IN COMMERCE ll-1-1996
        TR<\DEMARK
                                                                              TIIE MARK CONSl:'ilS OF STANDARD CHARACTERS W!TIIOUT CLAIM TO ANY PJ\R-
       PRINCIPAL REGISTER                                                     TJCU! AR I ONT, 'iTYJ r, <;J7r, OR COLOR

                                                                              5I:R NO 85-228,138, rILED 1-27-2011

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 46 of 102 Page ID #:46




                                      REQUIR El\ill :-ITS TO M AINTAIN YOUR FEDERAL
                                              TRADEM ARK REGISTRATIO N

                WARJ\ING: YOuR REGISTRATIO N W ILL BE CANCELLED IF YOU DO NOT FIL E THE
                        DOCUM E'ITS BELOW DURING THE SPECIFIE D TIM E PERIO DS.

            R equ irem ents m the   Fint Ten Ye,n·,"
            Wh.it and When to FIie:

                       First F1li11g Deadline: You must file a Declaiauon ofUsc (or Excusable Nonuse) between the
                      '>th and 6th years after the regisnanon date See 15 USC §§1058, 11411. If the declaration rs
                      accepted, the 1eg1st1at1011 will contmue 111 force for the remainder of the ten-year penod, calculated
                      uom the registration date, unless cancelled by an 01de1 ot the Comn11ss1011e1 fat Trademarks 01 a
                      Ieder al court

                       Secom/ Filing Deadline: You must file a Declaration of Use (or Excusable Nonusc) and an
                      Apphcanon for Renewal between the 9th and I Oth years after the rcgistranon date 4
                      'lee 15 USC §1059

            Rcquu cmcnts in Successive Ten-Year Pei rods"
            Wh.it and When to File:

                      You must hied Declaration of Use (01 Excusable Nonuse) and an Apphcation for Renewal between
                      every 9th and IOth-ye.u peuod, calculated from the 1eg1sh<1t1011 date ~

            G1 ace Pei iod Fihngs»

           The above documents will be accepted as tnnely if filed wttlun SIX months aftei the deadlmes listed above
           with the payment of an additional tee


             The Umted States Patent <11Hl Tradernm k Office (USPTO) wlll NOT send you any future notice 01
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            • '\.TTEl\ TlOl\ l\1ADRID PROTOCOL REGISTRANTS: The holder of'an mtcrnanonal rcgistrauon with
            an extension al protection to the Unncd States under the Madud Protocol must umcly file the Declarations
           of Use (or Excusable Nonusc) referenced above dncctly with the USPTO The tune pcuods for 111mg arc
           based on the US icgisnauon date (not the mtcmatronal 1cg1st1at1011 date) The deadlines and grace pcuods
           for the Declarations of Use (01 Excusable Nonuse) are identical to those for nationally 1ssned 1eg1strat1ons
            See 15 U S C §§ I 0~8, 1141k Howe,e1, owne1s of 111te1nat1onal 1eg1st1at10ns do not file ienewal apphca11011s
           at the USPTO Instead, the holde1 must file a 1enewal of the underlymg mte1nat10nnl 1eg1st1atwn at the
           Internat1onal !3rncan of the W01ld Intellectual P1ope1ty 01gamzat1011, undc1 A1i1cle 7 of the Mad11d P1otocol,
           befo1e 1hc expu<1hon of e<1ch 1cn-ye,u tenn of protect10n, c<1lcul<1ted ham the d,ne of the 111tem,1twn.il
           1cg1st1<1t1on YeC' 15 USC 91141 J For mote mtonnatwn ,md renewal tonns to1 the mtcm<1t1011al 1eg1strc1t1on,
           see http 11,, wv, w1po mt/mad11d/cn,

           J\OTE: Fee~ ,llld I e<J1111 ement, fo1 m,nntainmg 1·egM1 ation, are ,ubject to ch,mge. Pleai.e check the
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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 47 of 102 Page ID #:47




                                        NO DIG!
       Reg. No. 3,923,174         GARMON CORPORATION (CALIFORNIA CORPORATION)
                                  27461 VIA INDUSTRIA
       Registered Feb, 22, 2011   TI:MECULA, CA 92590

       Int. CJ.: 5                FOR ANIMAL REPELLANT NAMELY, HERBAL-BASED NON-AEROSOL SPRAY FOR
                                  USE IN DJSC001{AGING PFTS FROM D!GG!Nll IN TREATED ARFAS, IN CLAS'; 5 (US
                                  CLS 6, 18, 44, 46, 51 AND 'i2)
       TRADEMARK
                                  FIRST USE 1-1-1985, IN COMMERCE 1-1-1985
       PRINCIPAL REGISTER
                                  THF MARK CONSJ<;TS OF STANDARD CHARAC rFRS WITHOUT CLAIM TO ANY PAR-
                                  1 ICULAR ron !, SI YLl.:, :C,JZE, OR COLOR

                                  SFR NO 85-102 418 rILFD 8-6-2010

                                  MJC!l/\I:L KLA!JNG, EXAMINING Al !ORNJ.,,Y
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 48 of 102 Page ID #:48




                                                                NOGO!
       Reg. No. 3,923,173                               GARMON CORPORJ\ITON (CALJFORNJA CORPORATION)
                                                        27461 VIA INDUSTRIA
       Registered Feb. 22, 2011                         TEMCCULA, CA 92)90

       Int. Cl.: 5                                      FOR ANIMAL REPEILANT, NAMELY, HERBJ\L-BASED NON-AEROSOL SPRAY FOR
                                                        USEINRFPFLI ING PFTS FROMTRFATrDARf/1'>, IN CLASS 5 (US CLS 6, 18, 44 46,
                                                        5JAND 52)
       TRADEMARK
                                                        f!R.STUSE 1-1-1985, IN COMMT!RCE 1-1-1985
       PRINCIPAL REGISTER
                                                        11n: MARK CONSISTS OF SlANDARD CHARACTFRS wrrnour CLAIM TO ANY PAR-
                                                        1ICULAR fON I, SI YLL, SILL, OR COLOR

                                                        SFR NO 8)-102 171 FTI FD 8 6-2010

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 49 of 102 Page ID #:49




                                                                                NO MARK!
        Reg. No. 3,923,172                                                    G/\RMON CORPOR/\TION (C/\LIFORNIJ\ CORPORATION)
                                                                              27461 VIA INDUSTRJA
        Registered Feb. 22, 2011                                              ITMI:CULA, CA 92590

        Int. Cl.: 5                                                           fOR ANIMAL Rr:PELLANT, NAMELY, HERBAL-BASED NON-/\EROSOL SPRAY FOR
                                                                              nst TN RI:Pfl LTNG Pf IS rROM mrAIJ•DARFAS, TN CLASS 5 (US er S
                                                                                                                                       6, ]&, 44,46,
                                                                              51/\ND 52)
        TRADEMARK
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        PRINCIPAL REGISTER
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                                                                              SFR NO 85-102 150, rJJ FD 8-6-2010

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 50 of 102 Page ID #:50




                     NO SCOOT
       Reg. No. 4,225,288         GARMONCORPOR1\TJON(CJ\l IFORNJA CORPORAllON)
                                  27461 VIA INDU~ mIA
       Registered Oct. 16, 2012   TEMECULA, CA 92590

       Int, Cl.: 5                FOR DIETARY SUPPLEMLN IS fOR D005, NUTRITIONAL SUPPLEI\JINTS FOR DOGS,
                                  INCIA'>'>5(U', CL'l 6 18,44,46,51ANl))2)

       TRADEMARK                  FIRST U'lE 2-29-2012, IN COl\11\I[RCE 2-29-2012

       PRINCIPAL REGISTER         TJJ:C MARK CON'll'>T'l or 'lTANDARD CIIARACTrR 5 \'. rrnotn CLAIM TO ANY PAR-
                                  ll( ULAR I ON1, s l YL[, SILL, OR COi OR

                                  SER NO 85-561,514,f!U:DJ 6 2012

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 51 of 102 Page ID #:51




                                      REQUffiEME'!TS TO l\IAINTAI'! YOUR FEDERAL
                                              TRADBMARK REGISTRATIOI\
                WARNING: YOUR REGISTRATION WILL BE CANCELLED IFYOU DO NOT FILE THE
                       DOCUMENTS BELOW DURING THE SPI:CIJ1IBD TIME PERIODS.

            Requlrements in the Fil \t Ten Year~"
            What and When to File:

                       First Filing Deadline: You must file a Decimation of Use (or Excusable Nonuse) between the
                      5th and 6th years after the icgisnauon date See l 'i US C §§ I 058, 114 U. If the declaiation is
                      accepted, the registianon will conunue in force fo: the remainder of the ten-year pei rod, calculated
                      nom the registrauon elate, unless cancelled by an 01de1 ot the Comnussionei toi Trademarks 01 a
                      tedei al court

                      Secom/ Fi/mg Deadline. You must file a Declaration of Use (or Excusable Nonusc) and an
                      Apphcanon for Renewal between the 9th and l 0th ycai s after the rcgistranon date +
                      See15USC §1059

            Requirements in Successive Ten-Year Pei iods"
            What and When to File:

                      You must hie a Declaration of Use (01 Excusable Nonuse) ,md an Apphcation tor Renewal between
                      every 9th and lOth-ye,u penod, calculated from the rcgisuauon date •

            G1 ace Pei iod Filing~"

           The above documents will be accepted as timely if filed wnlun six months after the deadlines listed above
           with the payment ot an addmonal tee


             The United States Patent and T1 adcmar k Office (USPTO) will 'IOT send you any futui e notice or
                                          reminder of these filing i equu ementv,

            *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder ofan mtcrnauonal 1eg1S11at1011 wrth
           an extension of protection to the Unucd States under the Madnd Protocol must umcly file the Dcclaiauons
           of Use (or Excusable Nonusc) referenced above ducctly with the USPTO The tune pcnods Ior 11Jmg arc
           based on the US icgisuntron date (not the mtcmauonal 1cg1stint1011 date) The clcndlmcs and g1nce pc11ods
           for the Declarnt1ons of Use (01 Excusable Nonuse) a1c 1dcn11cal to those fo1 m1t1onally issued 1eg1st1at1ons
           See 15 USC §§10'i8, 1141k Howe,e1, owne1s ofmtemat1011al reg1strat10ns do not file 1cnewdl appl!cat10ns
           at the USPTO Instead, !he holde1 must file a 1enewal of the undc!lymg mte111at1011al 1eg1shat10n at the
           lntc111auonal Bmeau of the Wo!ld Intellecttldl P1opc11y 01gamzat1on, undc1 A111clc 7 oi the !llad11d P1otocol,
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           reg1str<11Ion Ser? I~ USC ~ 11411 For mo1e miomM1lon,1nd renew,11 ionns fo1 the 1111cmdt10n,1l 1eg1strdt10n,
           see http /,wwv, w1po 111t/mad11d/en/

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           at http 1/ww'-" uspto gov




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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 52 of 102 Page ID #:52




                                                                                  NO SCRATCH

        Reg. No. 3,923,171                                               GARMON CORPORATION (CALIFORNIA CORPORATION)
                                                                         27461 VIA INDUSTRIA
        Registered Feb. 22,                                          201111:MEcULA, cA 92190

        Jnt. Cl.: 5                                                             fOR J\N1MAL REPEILJ\NT, NAMFLY, IJI:RBAL BASFD NON-AEROSOL SPRAY FOR
                                                                                nsr; IN DISCOlffi.AGING PFTS FROM SCRATCHING TREATED SURTACFS, IN CJ ASS 5
                                                                                (US CLS 6, 18, 4cf, 46, 51 AND 52)
        TRADEMARK
                                                                                FIRST USF 1-1-1985 IN COMMERCr: 1-1-1985
        PRINCIPAL REGISTER
                                                                                THF MARK CONSIST'> OF STANDARD CHARACTFRS WITHOUT Cl AIM TO ANY PAR-
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                                                                                srn NO   85-102,125 FI! FDS-6-2010

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 53 of 102 Page ID #:53




                                                                                                   NO STAY!
       Reg. No. 3,919,903                                                                       GARMON CORPORATION (CALJFORNIA CORl'ORJ\TION)
                                                                                                27461 VIA INDUSIBIA
       Registered Feb. 15, 2011                                                                 Tl1MECULA, CA 92590

       Int. CI.: 5                                                                              FOR ANIMI\L REPELLJ\NT, NAMELY, III:RBAL-J3ASED NON-AI:ROSOI SPRAY FOR
                                                                                                USE IN RI:PELI ING PETS fROM Tiff ATPD ARPA<; IN CLAS<; 5 (US CT S 6, 18 4.J 46,
                                                                                                51AND52)
       TRADEMARK
                                                                                                flRST USE 1-1-1985, IN COMMERCE l-1-198)
       PRINCIPAL REGISTER
                                                                                                THF MARK CONSJST8 or STANDARD CHARACTFRS W1 J1 JOU I CJ ATM TO ANY PAR-
                                                                                                UCULAR fON l S l vu, S!Zl\ OR COLOR

                                                                                                SFR NO 85-102 406, FILFD 8-6-20 IO

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 54 of 102 Page ID #:54




         Int. Cl.: 3
        Prior U.S. ci. 52
                                                                                          Reg. No. 1,053,138
         United States Patent Office                                                 Registered Nov. 23, 1976


                                                  TRADEMARK
                                                   Principal Register



                                                    ODOKLEEN

        R Thomas Davies, doing business as Greentree Labora-     For: ALL-PURPOSE DEODORIZING CLEANING
          tories                                               PREPARATION FOR GENERAL USE, m CLASS 3
        2041 S Lyon St.                                        (US. CL. 52)
        Santa Ana, Calif. 92705                                  First use Nov. 15, 1969, in commerce Nov. 15, 1969.
                                                                 Owner of Reg No. 758,642

                                                                 Ser No 69,400, filed Jan 23, 1976

                                                               D E. SHALLANT, Examiner
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 55 of 102 Page ID #:55




                                   OUTTAMYBOX
   Reg. No. 5,167,411              The Garmon Co1p01at1011 (CALffORNIA CORPORATION)
                                   27461 Via Industna
   Registered Mar. 21, 2017        Temecula, CA 92590

                                   CLASS 5 Dietary pet supplements rn the form of pet treats, Dietary supplements for pets
   Int. Cl.: 5, 31
                                   rIRSTUSE 12-4-2015, IN COMMERCE 12-4-2015
   Trademark
                                   CLASS 31 Consumable pet chews
   Principal Register
                                   FIRST USE 12-4-2015, IN COMMERCE 12-4-2015

                                   THE MARK CONSISJS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                   PARTJCULARfONf SfYLE, SIZE OR COLOR

                                   SER NO 86-781,344, FILED 10-07-2015
                                   KRIS I IN ELIZA CARLSON, EXAMINING ATTORNEY




   Di1 ector of the Umted States
   Patent and Trademark Office
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 56 of 102 Page ID #:56




             REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

          WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                 DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

        Requh ements in the First Ten Y cars"
        What and When to File:

           • First Filing Deadline: You must file a Declai ation of Use (01 Excusable Nonuse) between the 5th and 6th
             years attei the iegistratron date. See 15 USC ~~1058, 1141k If the declaration is accepted, the
             registration will continue in force fot the remainder of the ten-year period, calculated from the iegisnation
             date, unless cancelled by an 01de1 of the Commissioner foi Trademarks 01 a federal court,


           • Second Filing Deadline: You must file a Dcclaiauon of Use (01 Excusable Nonuse) and an Application
             foi Renewal between the 9th and 10th years aftei the iegrstrauon date" See 15 U.S C. §1059.


       Requirements in Successive Ten-Year Periods"
       What and When to File:

           • You must file a Declaration of Use (01 Lxcusable Nonuse) and an Application f01 Renewal
             between every 9th and l Oth-yeai peuod, calculated horn the iegistration date"


       G1 ace Period Filings"

       The above documents will be accepted as timely If filed within six months aftei the deadlmes listed above with
       the payment of an additional fee.

        *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder ofan international registration with an
        extension of pi otecuon to the United States undei the Madnd Protocol must timely file the Declaiauons ofUse
       (01 Excusable Nonuse) refetenced above duectly with the United States Patent and Trademark Office (USPTO).
       The time penods foi Iilmg ate based on the U.S iegrstiatron date (not the international registration date). The
       deadlmes and grace penods fot the Decimations of Use (01 Excusable Nonuse) ate identical to those f01
       nanonally issued iegisuatrons, See 15 USC. ~qi 058, 1141k IIowever, owners of internatronal regisuauons
       do not file renewal applications at the USPTO Instead, the holder must file a renewal ol the underlying
       international icgisuauon at the Intemational Buteau ot the Wotld Intellectual Property Organization, under
       Article 7 of the Madrid Protocol, before the expnation of each ten-year te1111 ofpiotection, calculated fiom the
       date of the intemational iegisuanon Sec 15 lJ SC ~l 141J. Fo1 mo1c mfo1mallon and 1cncwal fotms fo1 the
       intmnal1onal 1egistiat1on, sec http·//www wtpo mt/111ad11d/e11/

       NOTE: Fees and requil ements for maintaining registrations are subject to change. Please check the
       USPTO website for further information. With the exception of renewal applications for 1·egistered
       extensions of protection, you can file the registration mamtenance documents referenced above online at h
       ttp //www.uspto gov

       NOTE: A courtesy e-mail reminde1 of USPTO maintenance filing deadlines will be sent to trademark
       owners/holders who authorize e-mail communication and maintain a current e-mail address with the
       USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
       Electronic Application System (TEAS) Con espondence Address and Change of Owner Address Forms
       available at http //www uspto gov.




                                                Page 2ot2/RN#5167411
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 57 of 102 Page ID #:57




                                 POTTY HERE
        Reg. No. 4,640,723                         rHF GAR!v!ON CORPORATION (CAI !FORNI/\ CORPORATION)
                                                   27461 VIA INDU'> I RIA
        Registered Nov.18, 2014                    TEMI:CULA, CA 92590

        Int. CJ,: 28                               FOR ANIIIJAL ATTRAC1ANT TRA!NlNO AID NAMELY, NON-ALROSOL SPRAY fOR
                                                   U',J, IN AJ"l RAC! INC, Pl I', 10 l RI Al[])ARI AS, IN CLA ',', 28 (U <, Cl<, 22 21, 18 AND
                                                   50)
        TRADE!\11ARK
                                                   I !RST USJ:3 I 2014, IN COMMERC[ 3 l 2014
        PRINCIPAL REGISTER
                                                   rut MARK CON~l~J:,     OJ <,JANDJ\RD UJAR.ACJLR!> V. 11UOUI CLAIM JO ANY PAR-
                                                   ! ICULAR fONT, '>1 YI [, SJZ[, OR COLOR

                                                   '>l•R NO 86 244,949,ll1ED4-7-20l4

                                                   FRANK LJ\TI UCA LXA \11"/ING ATTORNLY




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            })1lf1.nf and 11 1dcmn1lt Offh e
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 58 of 102 Page ID #:58




                                      REQUIR E,M E'ITS TO l\lAINTAl'l YOUR FEDERAL
                                              TRADI.i\1ARK REGISTRATI0 1\

                WARNING: YOUR REGISTRATJON W ILL nt CANCELLED IF YOU DO NOT FILE THE
                            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERJODS.

            Requh ements in the Fil vt Ten Yc,1n*
            What and When to File:

                        First Filing Deadline You must file a Dec Im anon of Use (01 Excusable Nonuse) between the
                       5th and 6th years after the iegistrauon date See 15 USC §§1058, 1141k If the declaiation rs
                       accepted, the iegisnanon will continue m force for the remainder of the ten-veai peuod, calculated
                       from the iegistiatron date, unless cancelled by an 01de1 of the Con11111ss10ner toi Tiademaiks 01 a
                       federal court

                       Second Filmg Deadline: You must file n Declaration ol Use (or Excusable Nonusc) and an
                       Applicanon Ior Renewal between the 9th and 1 Oth years after the rcgistrauon date ..
                       See 15 USC ~1059

            Req1111 ements m Successive Ten-Year Periods=
            What and When to File:

                       You must hie a Declaration of Use (01 Excusable Nonuse) and ,mApphc,111011 tor Renewal between
                       every 9th and l Oth-ye,u peuod, calculated horn the reg1s11<1t1011 date .i.

            G1 ace Period Filingr

           The above documents will be accepted as umely if filed withm six months after the deadlmes listed above
           with the payment ot an addmonal tee


             The United Stntes Patent and Tl adenuu k Ofhce (LSPTO) will 'IOT send vnu ,my futur e notice or
                                          1 cminder of these filing requir ements.


            "ATTENTION l\1ADRID PROTOCOL REGISTRAi\ TS: The holder ofan mtcmauonal regrsuanon with
            an extension of protection 10 the Unucd States under the Madud Protocol must nmcly Ille the Dcclaiauons
            of Use (or Excusable Nonuse) iclcrcnccd above d11 cclly \\ nh the USPTO The time periods for fihng arc
           based on the US 1cg1st1at1011 date (not the mte111at101MI icgrsuation date) The deadlines and grace pcnods
           for the Declarations of Use (01 Excusable Nonuse) aie 1dent1cal to those to1 nat,onally JSsued 1eg1strat1ons
           See 15 U S C §§1058, 1 J 41k Howevc1, owne1s ofm1c1na1101rnl reg1strnt1ons do not file renewal apphcat10ns
           at the USPTO Instead, the holde1 must file a 1enewal of the unde1lymg m1e1nat1011c1l 1eg1stiat1on at the
           Inteinauonal Bureau of the Woild Intellectual P1ope1 ty 01ga1117c1t10n, unde1 Article 7 of the Mad11d P1otocol,
           bclo1e the exp1rat10n o( e,1ch ten-ye,u te1111 oJ p1otec11on, c,liculc1ted ilom the dc1tc ot the mtem<1t10n<1l
           1 eg1str<1t10n ,SC'C' 15 U SC ~ I 141 J For mo1e mt01n1<1t1on dnd 1encw<1l fom1s fo1 the mtern<1t1on<1l reg1stratwn,
           see http /1www w1po mt,m<1dI1d/e11,

           NOTE: FCC\ and I equu emcnh fo1 nrnintammg I cg1,t1 ,ttiom ,II c \llbject to change. Plea,e check the
           LS PTO website for fu1 the, info1 m,1tion. With the exception of I enew,tl ,1pplic.it1ons for rcg1~te1 ed
           exten5ion~ of p1 otection, ,ou c,rn file the I eg1~ti .ttion m,tinten,tuce document, , cfc1 cnced ,tbo~c on line
           at htlp //\1 \rn uspto gov




                                                       Page 2 / RN # 4 640,723
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 59 of 102 Page ID #:59




          Int. Cl.: 5
          Prior U.S. Cls.: 6, 18, 44, 46, 51 and 52
                                                                                       Reg. No. 3,293,364
          United States Patent and Trademark Office                                      Registered Sep. 18, 2007

                                                    TRADEMARK
                                               PRINCIPAL REGISTER




                                        QUIET MOMENTS

          GARMON CORPORATION (CALIFORNIA COR-                    FIRST USE 12-31-1998, IN COMMERCE 12-31 1998.
             PORATION)
          27461-B DIAZ ROAD                                       THE MARK COKSISTS OF ST AND ARD CHAR-
          TEMECULA. CA 92590                                    ACTERS WITHOUT CLAIM TO ANY PARTICULAR
                                                                FONT, STYLJ::, SIZE, OR COLOR
            FOR DIETARY SUPPLEMENT FOR USE IN RE-
          DUCING STRESS OR TENSION IN PETS, HERBAL
                                                                 SER NO 77-087.069, FILED 1-19-2007
          SPRAY FOR USE IN REDUCING STRESS OR TEN-
          SION IN PI:TS IN CLASS 5 (U.S CLS 6, 18, 44, 46, 51
          AND 52}                                               PATRICIA EVA1'KO EXAMINIKG ATTORKEY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 60 of 102 Page ID #:60




                                           SEPTIDERM-V
       Reg. No. 4,015,759                                          GARMON CORPORATION (CALIFORNIA CORPORATION)
                                                                   27461 VIA INDU, !RIA
       Registered Aug. 23, 2011                                    TEMECULA, cs: 92590

       Int. Cls.: 3 and 5                                          !OR SHAMPOOFORUSEOND0GS,CATSANDHORSES,INCLASS3(US CLS 1,4,6,
                                                                   50 51 AND 52)

       TRADEMARK                                                   I IR<;T USE 5-19-I978, IN COMMI:RCI: 5-19-1978

       PRINCIPAL REGISTER                                          I OR MfDICAlI:D ANTl'ffPl!C I OTION fOR TOPICAi usr ON DOG<; CAT'> AND
                                                                   llORSI:S, IN CLASS 5 (U:, CLS 6, 18, 44, 46 51 AND 52)

                                                                   flRSTUSE5 191978,!NCOMMERCES-19-1978

                                                                   I Ill MARK CON',J<,J~ 01 <,JANDARD CIIARACI IR'> VvI JllOl/ I U AIM IO ANY PAR-
                                                                   TICULAR I ONT, <;TYLE, si/r, OR COLOR

                                                                   SER NO 85-228,776, FILED 1-28 2011

                                                                   IUL!L WAlSON, rXAMlNING Al fORNLY




       Dreo.11\J ofrh~Umt~ I \hllt!\I It! 1 nl Jr1l<'l11 k()ffu!
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 61 of 102 Page ID #:61




                                       RCQUIR EI\1E 'lTS TO MAINTAIN YOUR FEDERAL
                                               TRADEMARK REGISTRATIO N

                \VAR!\ ING: VOL R REGISTRATION WILL BE CANCELLED IF YOU DO NOT FIL E THE
                          DOCUl\lE'lTS BELOW DURING THE SPECIFIE D TIME PERIO DS.

            R eq u ii em ents m th e F u st Ten   Ye,n \"
            What and \Vheu to File:

                        Tirst Td111g Deadline: You must file a Decimation of Use (or Excusable Nonuse) between the
                       5th and 6th years after the regisuauon date See 15 USC §§ 1058, 1141k If the declarauon rs
                       accepted, the iegrstianon will contmue 111 force for the remamdei of the ten-year peuod, calculated
                       horn the registration date, unless cancelled by an 01de1 oi the Comm1ss1011e1 toi Trademarks 01 a
                       tedei al court

                       Sewml Filing Deadline: You must file a Declaration of Use (or Excusable Nonnse)            and an
                       Apphcauou Joi Renewal bctw con the 9th and 10th years after the registratron date ~
                       S'eel5USC !;>1059

            Requii cmcnts 111 Successive Ten-Year Periods=
            What and When to File:

                       You must hied Declaration ot Use (01 Excusable Nonuse) and an Apphcanon Ioi Renewal between
                       every 9th and I Oth-year peuod, calculated from the regisnanon date *

            Gi acc Pello(l F1hng~"

           The above documents will be accepted as tnnely if'filed wuhin six months after the deadlmes listed above
           w uh the payment ot an addmonal tee


             The Lnited States Patent and 'Ir adem.rrk Office (USPTO) will NOT send you any futui e notice 01
                                          reminder of these filing requh ements,

           "<\TTEI\ TIO!\ MADRID PROTOCOL REGISTRANTS: The holder of an mtcmatronal rcgisuauon with
           an cxtcnsron oJ piotccnon to the United States under the Madnd Protocol must timely file the Dcclaiauons
           oJ Use (or Fxcusablc Nonuse) rclcrcnced above du cctly with the USPTO The tune penods for uhng arc
           based on the U S icgrsnatron date (not the mtcrnanonal 1eg1s11a11011 date) The deadlmcs and grace penods
           foi the Decl.uanons of Use (01 Excusable Nonuse) me 1dent1cal to those fo1 nationally 1ssned 1eg1stiat1011s
           See 15 U SC §s 1058, I l41J.. Howeve1, owne1s ofmtemauondl 1cg1strat1011s do not file 1encwal apphcat10ns
           at the USPTO Instead, the holde1 must Ille d 1e11ewal of the unde1ly111g 111te1na1Ional 1eg1st1at1011 at the
           I11te1na11onal Bu1eau of the Wo1ld Intellectual P1opc11y 01ga1117at1011 u11de1 Article 7 of the Madrid P1otocol,
           beto1e the c1s.p11.it1011 ot e,1ch ten-ye,u te1m of p1otecuon, c<1lcul<1ted hom the d<1te ot the mte1n<1l!011<1l
           rcg1st1<1t1011 S'ee J ~ U SC ~ 1141 J F01 mo1e mtonn<11Jon <1nd renewal forms to1 the mtern<1t10n<1l 1eg1str<1t1on,
           see http //www w1po mt/m<1d11d/en/

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           LSPTO \\ ebsite fo1 fu I ther info1 mation. With the exception of I enew,11 applic.ition~ fo1· rcgiste1 ed
           exten\1011~ of p1 otection,) ou c,111 lile the I egi~b ,1tion m.1i11ten,111ce documents I efe1 enced ,1bo~c onlme
           ,It h!lp /,'111H, uspto gov




                                                            Page 2/RN#4015,759
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 62 of 102 Page ID #:62




          Int. Cl.: 3

          Prior U.S. Cls.: 1, 4, 6, 50, 51 and 52
                                                                          Reg. No. 1,954,954
          United States Patent and Trademark Office                          Registered Feb. 6, 1996


                                         TRADEMARK
                                     PRINCIPAL REGISTER



                                         SHOWBATH



          GREENTREE LABORATORIES, INC     (CALI-      FIRST    USE   2-1-1973,   IN   COMMERCE
           FORNIA CORPORATION)                      2-l-1973
          PO BOX 425
          TUSTIN, CA 92681
                                                     SER NO 74-650,442, FILED J-23-1995
            FOR SHAMPOO FOR PCTS, INCLUDING
          DOGS, CATS AND HORSES, IN CLASS 3 (US     PRISCILLA MILTON, EXAMINING ATTOR-
          CLS 1, 4, 6, 50, 51 AND 52)                 NEY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 63 of 102 Page ID #:63




                                             Stool Ease
       Reg. No. 4,428,270                                   TII:C GARMON CORPORATION (CAI IfORNIA CORPORi\flON)
                                                            27461 VlA INDU'>IRIA
       Registered Nov. 5, 2013                              TEMECULA, CA 92~90

       Int. Cl.: 5                                          fOR DlbTARY PE! WPPLEMLN1 SIN THE FORM OJ PET TRE ATS, DIETARY SUPPLE-
                                                            Ml NT'> ron Pl l ':, 10 ',()J 1 I N <, 1001 AND ':,UPPORI Ill Al IlIY ANAL Gl AND flJNC
                                                            l!ON, HERBAL !:>UPPLl::.Ml NJ!:> !-OR':,()} ILN!Nu ':,JOOLAND ~UPPORllNu Hl::.ALlHY
       TRADEMARK                                            ANAL GLAND FUNC [ION IN PE rs IN CLAS'>~ (US CLS 6, I 8, 44, 46 51 AND 52)

       PRINCIPAL REGISTER                                   f!R'>T trsr 2-22-2012, IN COMMT RCf 2 22-2012

                                                            Til:C M<\RI( CON51STS or 5T<\NDARD CHARACTERS V. ITIJOUT CLAIM                 ro ANY PAR
                                                            TICULAR TONT, STYLE, SIZ:C, OR COLOR

                                                            NO Cl AIM I'> MADI IO I Ill l   xc:   lhlVI RI Cr I I I 10 U':,I: "'> I OOL", APARJ I ROM IIIL
                                                            MARK A':, SHOWN

                                                            <;ER NO 85 860,486, I !LED 2-26-2013

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 64 of 102 Page ID #:64




                                      REQUIREJ\1E~TS TO MAJNTAJ~ YOUR FEDERAL
                                             1RADEMAR1( REGJSTRATION

                WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO J\OT FJLE THE
                       DOCUMENTS BELOW DURING THE SPECIFlCD TIME PERIODS.

            Requirements in the Fhst Ten Ye,H~*
            What and When to File:

                        Fsrst Filing Deadline: You 11111st file a Decimation of Use (01 Excusable Nonuse) between the
                       5th and 6th veais after lhe registrauon date See 15 US C §~ 1058, 1141.k If the decl.uanon is
                       accepted, the regisuanon will connnue 111 force foi the remainder of the ten-year penod, calculated
                       tiom the regisnauon date, unless cancelled by an 01de1 of the Con11111ss1one1 tor Trademarks 01 a
                       Iedeial court

                       Second Fi/mg Deadline· You must hie a Dcclamtron of Use (or Excusable Nonusc) and an
                       Applrcanon for Renewal between the 9th and 10th years after the rcgistrauon date+
                       Seel5USC §1059

            Rcquh emcntv in Successive Ten-Year Pei inds=
            What and When to File:

                       You must hie a Declaration at Use (01 Excusable Nonuse) and .m Apphcanon loi Renewal between
                       every 9th and 10th-year penod, calculated from the registiauou date+

            Grace Period Filing~*

            The above documents will be accepted as timely rf filed wrthm six months aftei the deadhnes listed above
            with the payment of an additional fee


              The United States Patent and Trademm k Office (LSPTO) will ~OT vend vou any futm e notice 01
                                           1 emlnder of these filing requh emenrs,


            ~ ATTEJ\ Tl ON MADRID PROTOCOL REGISTRAJ\ TS: The holder of an mtcrnanonal iegisuauon w uh
            an extension of protection to the Unucd States under the Madnd Protocol must umcly file the Dcclaiauons
            of Use (or Excusable Nonusc) referenced above ducctly with the USPTO The tune periods for fllmg arc
            based on the US rcgrsnatron date (not the mtcrnauonal 1cg1s11at1011 date) The dcadlmcs and grace pcnods
            for the Declaranons of Use (01 Excusable Nonnsc) ai e rdenncal to those foi nationally issued iegistrauons
                           s§
            See l 5 U SC 1058, 1141k However, owners of mtemauonal registrations do not file renewal applicanons
            at the USPTO Instead, the holder must file a renewal of the undeilymg 111ternat1onal 1eg1st1a1ton at the
            International Bmcau of the Wo!ld Intellect1rnl P1opeuy 01g,1mzat10n unde1 All1cle 7 of the Mad11d P1otocol,
            beto1e the cxpu,1t10n ot e.ich ten-ye,u tenn ot p1otec11on, c<1lcul,llcd flom the ddte of the mtern.it1011al
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            sec http //www w1po mt/m<1dnd/en,

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            at http i/wM~ uspto gov




                                                       Page 2 /RN# 4,428,270
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 65 of 102 Page ID #:65




                                                                                          YUCI(!
       Reg. No. 3,970,332                                                    GARMON CORPORATION (CALIFORt'IIA CORl'ORATION)
                                                                             27461 VIA INDUSTRJA
       Registered May 31, 2011                                               mvrncrn A, cA 92590

       Int. Cl.: 5                                                           FOR ANIMAL RbPELLANTS, NAMELY, HfRBAL-Bn.SED NON AIROSOL SPRAY FOR
                                                                             USE IN DISCOURAGING PETS FROM CHEWING ON IREATID SURfACr:S, IN CLASS 5
                                                                             (US CLS 6, 18, 44 46, 51 AND 52)
       TRADEMARK
                                                                             HRS! USbl2-31-1982,INCOMMl:.RCL 12 31 1982
       PRINCIPAL REGISTER
                                                                             THE MARJ( CONSISTS 01 STANDARD CHARACTERS \'IITHOUT CLAIM TO ANY PAR-
                                                                             TICULAR fONT, STY! r, srzr, OR CO! OR

                                                                             SER NO 85-146,,15,F!Lf;D 10-6-2010

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Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 66 of 102 Page ID #:66




          Int. Cls.: 5 and 31
          Prior U.S. Cls.: 1, 6, 18, 44, 46, 51, and 52
                                                                              Reg. No. 3,584,717
          United States Patent and Trademark Office                             Registered Mar. 3, 2009


                                              TRADEMARK
                                          PRI::'l "CIPAL REGISTER




                                    Overby Farm
          OVERBY FARM, LLC (MICHIGAN LIMITED           RIES, DOG FOOD, CAT FOOD. DOG TREATS, CAT
              LIABILITY COMPANY)                       TREATS, DOG FOOD CONTAINING A THERAPEU-
          l o,o TOP VIEW                               TIC INGRED1ENT. CAT FOOD CONTAINING A
          BLOOMFIELD HILLS, MI 48304                   THERAPEUTIC II\GREDIENT, IK CLASS 31 (US.
                                                       CLS I AND 46)
             FOR NUTRACEUTICALS FOR PROMOTING AN
          ANIMAL'S HEALTH, DIETARY SUPPLEMENTS           FIRST USE 4-1-2005, IN COMMERCE 4-1-2005
          CONTAINING COX-2 INHIBITOR FOR ANIMALS,
          VETERINARY FORMULATIONS, NAMELY, ANTI-         THE MARK COKSISTS OF STANDARD CHAR-
          INFLAMMATORY FOR ANIMALS, DIETARY SUP-       ACTERS WITHOUT CLAIM TO ANY PARTICULAR
          PLEMENTS FOR PETS IN CLASS 5 (US CLS 6, 18   FONT. STYLE, SIZE, OR COLOR
          ++. 46. 51 AND 52).
           FIRST USE 4-1-2005, IN COMMERCE 4-1-2005      SN 78-763,847, FILEDS R 11-30-2005, AM PR
                                                       12-12-2005
            FOR ANIMAL FOOD, DOG BISCUITS, CAT
          BISCUITS, AKIMAL FOOD CONTAINING CHER-       WEJ\DY JU!\, EXAMIJ\ING '\TTORNEY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 67 of 102 Page ID #:67




          Int. Cls.: 5 and 31
          Prior U.S. Cls.: 1, 6, 18, 44, 46, 51, and 52
                                                                                  Reg. No. 3,330,783
          United States Patent and Trademark Office                                  Registered Nm. 6, 2007


                                                TRADEMARK
                                            PRINCIPAL REGISTER




                                             BERRIER


          OVERBY FARM LLC (MICHIGAN LTD LIAB CO)             FOR ANIMAL FOOD, DOG BISCUITS, PET
                                                          FOOD CONTAINING CHERRIES, DOG FOOD,
          1050 TOP VIEW                                   DOG TREATS, PET FOOD IK CLASS 31 (US CLS
          BLOOMFIELD HILLS, MI 48304                      I AKD46)

                                                           FIRST USE 4-28-2006, IN COMMERCE 4-28-2006
            FOR ANIMAL NUTRACEUTICALS FOR USE AS
          A DIETARY SUPPLEMENT. AN ANTI-IKFLAM MA-
                                                            THI: MARK COJ\SISTS OF STANDARD CHAR-
          TORY FOR ANIMALS, DOG FOOD CONTAINING A
                                                          ACTERS WITHOUT CLAIM TO ANY PARTICULAR
          THERAPEUTIC INGREDIENT, DOG TREAT CON-
                                                          FONT. STYLE SIZE, OR COLOR
          TAINING A THERAPEUTIC INGREDIFKT. PET
          FOOD CONTAIKING AN A:t\TI-INFLAMMATORY,
                                                           SN 78-534,589. FILED 12-17-2004
          IN CLASS 5 (US CLS 6 18, 44, 46. 51 A:t\D 52)
                                                          WARREN L OLANDRIA, bXMUNING ATTOR
            FIRST USE 4-28-2006, IN COMMERCE 4 28 2006     NEY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 68 of 102 Page ID #:68




          Int. Cl.: 31
          Prior U.S. Cls.: 1 and 46
                                                                                Reg. No. 3,610,474
          United States Patent and Trademark Office                               Registered Apr. 21, 2009

                                               TRADEMARK
                                           PRINCIPAL REGISTER




                                      HIP FLEX
          OVERBY FARM, LLC (MICHIGAN LIMITED              THE MARK COKSISTS OF STANDARD CHAR-
             LIABILITY CORPORATION)                     ACTERS WITHOUT CLAIM TO ANY PARTICULAR
          1050 TOP VIEW ROAD                            FONT. STYLE, SIZE, OR COLOR
          BLOOMFIELD HILLS, MI 48304
                                                          NO CLAIM IS MADE TO THE EXCLUSIVE
                                                        RIGHT TO USE "HIP", APART FROM THF MARK
            FOR ANIMAL FOOD, DOG BISCUITS, PET          ASSHOWJ\.
          FOOD COKTAINING CHERRIES, DOG FOOD,
          DOG TREATS PET FOOD, IN CLASS 31 (US CLS
          I AND46)                                       SN 78-905,029, FILED 6-9-2006

           FIRST USE 10-6-2006, IN COMMERCE 10-6-2006   RONALD AIKENS, EXAMINIKG ATTORNEY
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 69 of 102 Page ID #:69
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                                          Qy

              Naturv                                                                                                                                                 CONFIDENTIAL
                                                                                                                                                            US. ONLINE DEALER (SF)
                    " Garmon corp.                                                                                                                                 040116/3566627 /3


                                         AUTHORIZED ONLINE DEALER AGREEMENT
 THE INTRODUCTION (Vanous terms are defined in Section 17 and elsewhere m this Agreement m bold nahcs )
 Dealer (full business name) ("FBN'1 _HealthyPets, Inc                                                                                                               _
 Pnnopel Address _34501 Seventh St                                                   City _Union City_ State _CA_ Zip Code _94587_
 Owner/Manager _Or Manny Ghumman                                                                        email _mghumman@healthypets com                                   _
 Contact (1f different) _Nick Querubin                         Contact email (1f different} _..,,n""
                                                                                                  lc,.,_,
                                                                                                     kq...,@,,,_h=ea""'lt"'"hy,_.,p""'et"s"'""
                                                                                                                                            coe.:.,m.,__            _
 Phone _800-306-7910 x155_ Customer Service Phone (1f different)                                                                           Tax ldenhhcanon No (EIN) _94-3339062_
TGC-approved name(s)/storefronts under which Dealer operates                            TGC-approved webs1te(s) (URLsl/markelplace(s) used by Dealer
 Ent1relyPets com                                                       Amazon com Geller Central & Amazon Canada Geller Central
 HealthyPets com                                                        Filled By Amazon
 NaturalPets com                                                        Ebay
 Ent1relyPetsPharmacy com                                               Sears
 HeartlandVetSupply.com                                                 Buy com Overstock com
 Pnnclpal address for notices to The Garmon Corporation ("TGC'1
 Pohcy Administrator, The Garmon Corporation, 27461 Via lndustna, Temecula, CA 92590 • email policyadmm@naturvet com
SIGNATURES
 DEALER
By ~________.~  !_,.. ,~ ~   e:::::::::::;,,J----~~~~                                                                                                        //l f:?/Pc-H 7
Name -""'
      Je""'s,.,
            sew.P.,,,a""
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                         lla,__                      _

Tille _......!_
            VP!.....!c!!
                    of~S~al"es  ""--------------                                        Date---------~---------
Date __4""'   /1= 91.:,20"-'-1"""
                              6                _                                        The Effective Date __.,_
                                                                                                              ~,_/
                                                                                                                 -";_9:.. ,/<--
                                                                                                                            2_{,_'l.. .:b:....._ _
                                                                                                                                  I            7
Beginning as of the Effective Date, TGC (a California corporation} and Dealer, each located at its respective principal address shown 1n the Introduction,
agree that Dealer will perform as a Nonexclusive Authorized Online Dealer for the Products during the Term subject to the following
 1 Responsibilities Except as otherwise expressly directed or approved m advance by TGC, Dealer, at its own expense, will do each of the following (a)
 promote the sale and use of the Products, (b) promptly and effectively respond to quesnons and requests from end user customers permitted by the ORD
 (collectively, the "Authorized Customers") and TGC, (c) represent the Products 1n a professional manner during the Coverage Penod, (d) refrain from any
 conduct that rs or could be detrimental to the reputation or mtegnty of any or all of Dealer, the Distributors (as applicable), TGC and the TGC products, (e)
 refrain from knowingly or negligently directly or md1rectly (1) advertrsmg, promoting or selling m any or all of the following ways (A) outside the United States
 of America ("US.') (except to the extent any or all advertising and promotion efforts cannot be reasonably restricted geographically, but this exception does
 not apply to sales made to anyone located outside the US), (B) using any business name(s) or storefront(s) other than the FBN or acceptable variants
 thereof (as determined by TGC) and (C) onlme m any fashion, unless and only to the extent each website and marketplace used for such purpose by
 such Dealer 1s (along with each business name and storefront) approved m advance by TGC for such use (such as in the Introduction) and which
 approval has not been rescinded by TGC Notice and (11) selling m either or both of the following ways (A) to anyone for resale other than, m the case of
 permitted returns, to any or all of the D1stnbulors or TGC and (B) to anyone other than the Authorized Customers, including without hm1tabon to the Special
Accounts, (f) refrain from creating or ass1stmg m or otherwise cooperating m the creation of new Amazon Standard ldent1f1cat1on Numbers (ASINs) or
 bundles specmc to Dealer on Amazon com, (g) use the Intellectual Property only as permitted by TGC m the ORD, (h) refrain from questioning or challengmg
the nghls claimed by TGC, its Aff11iate(s) or its designee(s} (md1vldually and collectively, the "TGC Parties'') m or to the Intellectual Property or assisting m
any way any other(s) In doing so, (1) comply with all laws and, except to the extent expressly excluded by TGC from mandatory compliance therewrlh, all of
the DP, u) promptly comply with requests from TGC relating to any law, regulation or recall of any or all TGC products, and (k), after termination of this
Agreement, Immediately cease at the end of the Coverage Period (1) advertising, promoting and selling any and all TGC products and (11) all use of anything
which would give the nnpresson that Dealer ts an authorized dealer, reseller or representative of or for any or all of such products or has any affll1at1on
whatsoever with TGC or such products
2. Acceptance. With respect to Direct Orders, TGC shall have the right to (a) accept, reJecl 01, 1f already accepted by TGC, cancel any or all such orders
for any reason or no reason, (b} allocate any or all items of TGC products m such manner as TGC deems advisable, and (c}, 1n the event that TGC should
determine that one or more special credit restrictions (as defined by TGC) apply, impose such payment terms as TGC deems appropriate prior to doing
either or both of the following (1) accepting any or all new Direct Orders or (11) filling or completing any or all pending Direct Orders (even If accepted) from
Dealer In the event that TGC receives one or more Direct Orders (or s1m1lar or related documents) which contain one or more provsions which are
inconsistent with or 1n add1t1on to any or all provisions of the DRD (A) each such order ( or document) will be conclusively deemed to be governed by the
ORD, (B) each such inconsistent or add1t1onal pronson will be deemed stricken, and (C) none of the Direct Orders will be deemed to be governed by any
prov1s1on(s) other than that or those contained m the ORD, unless and until a written supplement 1s duly executed by both of the Parties which expressly
adopts such prov1s1on(s}
3. Integration. The ORD as modified from time to time (a) constitutes the entire understanding of the Parties bmdmg upon them regarding the subject
matter thereof, (b) ts intended to govern the relahonslup between the Parties therefor, (c) supersedes all agreements, representations or statements

                                                        TGC Authonzed Online Dealer Agreement (U S )
                                                        1
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 71 of 102 Page ID #:71


 between the Parties, either oral or written, (d), except as otherwise provided therein, may be amended or modmed only by a written supplement, duly
 executed by the Parties, as each Party hereby waives its right, 1f any, to modify this Agreement orally, and (e) 1s not subject to any rule of stnct construction
     In the event of any conflict between the DP and this Agreement, the DP will control (silence m the DP rs not a conflict) This Agreement may be executed in
    separate counterparts (and any or all of such counterparts may be transmitted or exchanged as hardcopy, as portable document format (pdf) files or by
    other electronic means), each of which 1s deemed to be an original (and ongmally executed), and all of which taken together constitute one and the same
    binding agreement No failure, refusal, neglect, delay, waiver, forbearance or omission by TGC to exercise any nght(s) under the DRD or to insist upon full
    compliance by Dealer with Dealer's duties, obhgallons or reslncnons thereunder shall constitute a waiver of any prov1s1on(s) of thereof or otherwise
    thereafter limit the nght of TGC to fully enforce any or all of the prov1s1on(s) and part(s) thereof if applicable law contains any requirement that ts
    Inconsistent with the DRD, TGC may, effective as designated by TGC, add or substitute such requirement or terminate this Agreement If one or more parts
    of the DRD shall be held invalid, the remainder of the DRD shall continue m full force and effect, and each such part shall be deemed not to be included In
    the DRD TGC shall not be liable for (i) loss, damage or delay resulting from any cause whatsoever beyond the reasonable control of TGC and (11)
   consequernel, lncidsntal, punitive or special damages, loss or expense to any or all of Dealer and others for any reason(s) whatsoever
   4. Miscellaneous. Neither any or all of the DRD nor any and all duties and obligations thereunder may be delegated, transferred or assigned by Dealer
   without the express written consent of TGC Each delega!Jon, transfer or assignment by Dealer without such consent shall be void The relat1onsh1p
    between the Parties 1s that of independent contractors, and Dealer shall have no authority or power to bmd TGC or to contract m the name of and create a
   liab11ity against TGC TGC may modify the DP, with such modacanons effective as designated by TGC A breach by Dealer of any or all of the DP will be
   deemed to be a material breach by Dealer of this Agreement One or more 1tem(s) of TGC products may change, and Dealer agrees that TGC and each of
   the Distributors may without liab1hty or penalty cancel all pending orders {even if accepted) from Dealer for such changed 1tem(s) and refuse to accept any
   new orders from Dealer for such 1tem(s) Each dispute between the Parties shall be {a) governed by substantive and procedural California law without
   regard to that state's conflicts of laws provisons and (b) ht1gated at the tnal level as a bench tnal m Riverside, California (each Party waives trial by jury),
   except that If lit1gatlon of a dispute 1s not Initiated by Dealer during the one (1) year period after the occurrence of the event{s) giving nse to such dispute,
   Dealer's claims with respect thereto will be barred TGC's Interpretation of the DRD governs The following shall survive the termination of this Agreement
   (1) Sections 1(b) through 7 of this Agreement, (11) each of the def1nit1ons otherwise contained m the DRD, (111) the Introduction, and (Iv) each of the DP that, by
   its own terms, expressly states that 1t survives the termination of this Agreement or which TGC otherwise designates as so surviving Each notice described
   m this Agreement must be m wnt1ng and shall be sent to the intended recipient (with all fees paid) by express courier service or email to such recpienl's
   principal address shown m the Introduction and shall be considered effective or received when actually received or refused by such recipent, provided that
  the sending Party has written confirmation thereof and such refusal was not due electronic or mechanical malfunction or failure
   5. Termination. Either Party may terminate this Agreement, with or without cause, effective thirty (30) days after receipt of notice thereof by the other Party
  or, in the case of a material breach or under Section 3 hereof, effective no sooner than the date of receipt of notice thereof by such other Party After
  termination of this Agreement, acceptance of one or more orders from Dealer by any or all of TGC and the Distributors or fulfillment thereby of one or more
  accepted orders (regardless whether accepted before or after termination) will (a), unless otherwise designated by TGC, be subject to all of the terms and
  condnons of the DRD as 1f such acceptance or fulfillment had occurred during the Term and (b), m no event, be construed as a renewal or extension of this
  Agreement or as a waiver of termination or of notice of termination If and as requested by TGC, Dealer will sell or cause the sale to TGC of and, as directed
  by TGC and at TGC's expense, ship or cause to be shipped to TGC or its des1gnee(s) each of the items m the Dealer's Inventory of TGC products (free of all
  liens, secunty interests, claims and encumbrances, other than that or those m favor of TGC) which Is acceptable (as determined by TGC) at a price equal to
  the pnce paid to TGC or each relevant Distributor therefor or, 1f unpaid, m lieu of the amount due to TGC or each such Distributor therefor, less m either case
  a restocking charge equal to the amount, 1f any, described m the DP TGC shall have rights of set-off, recoupment and counterclaim against Dealer
  6. Enforcement. In the event that the TGC Parties f1le(s) any actonts) against the Dealer Parties to enforce or defend any of the rights claimed by the TGC
  Parties or file(s) any response(s) to or m any acnonts) brought against the TGC Parties by the Dealer Parties, the TGC Parties shall be entitled (a) to
  equitable relief without the necessity of posting bond or other security (including without lim1tat1on entry of temporary and permanent mJuncllons and orders
 of specnc performance) and (b) to recover from the Dealer Parties m each Judgment wholly or partially In favor of the TGC Parties entered in such acllon{s)
 the attorneys' fees and l1t1ga!Jon expenses of the TGC Parties, the court costs and damages as permitted by law, the costs of collection thereof and other
 relief as a court may award or order In the event of any breach or threatened breach of any or all of Sections 1 (b) through 1 (k), 4 and 5 of this Agreement,
 remedies al law alone will not be adequate
 7. Definitions. For purpose of this Agreement (a) "Affiliate(s)" means any or all of the lnd1v1duals and entities directly or indirectly controlling, controlled by
 or under common control with the Party idenhfted, with "control" and its variants m this context having the same meaning as under the U S federal securities
 laws, (b) the "Coverage Period" means the Term and the period afterward, 1f any, until (as relevant) Dealer has or, as determined by TGC, should have
sold or otherwise disposed of all of Dealer's inventory of TGC products (each such sale or other disposibon will be In a manner consistent with the ORD), {c)
 "Dealer" means the Party 1dent1f1ed as such m the introduction, which can be the Dealer Operalion (as defined in the Authorized D1stnbutor Agreement by
and between TGC and Disfnbutor (as the latter term 1s defined theremj), (d) the "Dealer Parties" means any or all of Dealer and its Aff1hate(s), (d) "Direct
Orders" means orders for any or all items of TGC products submitted by Dealer directly to TGC as permitted by the DRD or TGC, (e) "Distributors" means
resellers authorized by TGC to sell to Dealer, (f) the "DP" means the "Dealer Pohces,' which consist of the then-current versions of the announcements
issued or made available electronically or otherwise by TGC and intended by TGC as such, (g) the "DRD" means the 'Dealer Relationship Documents,"
which consist of this Agreement and the DP, (h) the "Effective Date" means that labeled as such in this Agreement, (1) the "Intellectual Property" means
any or all of the patents, designs, trademarks, service marks, trade names, commercial symbols, copyrights, data, data bases, market 1nformat1on, trade
secrets and conf1denlial Information m which TGC claims nghts, U) the "Introduction" means that part of !his Agreement labeled as such, which will be
deemed to be one of the DP, (k) "Nonexclusive Authorized Online Dealer" means that Dealer may hold Itself out as such and submit orders for the
Products to Distributors or TGC, while TGC and others may offer and sell the Products as TGC designates; {I) a "Party" means TGC or Dealer and the
"Parties" means TGC and Dealer, {m) the "Products" means those TGC products made available to Dealer by TGC or Distributors, {n) "TGC Notice"
means notice to Dealer from TGC that either (1) complies with Section 4 of this Agreement or (ii) rs made available on a TGC-des1gnated website and notice
under such Section 4 1s received by Dealer, which, at a minimum, Indicates that a change has been or will be made to what 1s posted thereon, (o) the
"Special Accounts" means, collectively, each 1nd1v1dual or entity so designated by TGC Notice, and (p) the "Term" means the penod from the Effective
Date unbl this Agreement 1s terminated pursuant to Section 5 hereof
040116/3566627/3




                                                         Authorized Online Dealer Agreement (U S )
                                                         2
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From: Marty Candiotta
Sent: Tuesday, September 12, 2017 1:56 PM
To: Dr. Manny Ghumman; 'Bob Singh'; Jesse Padilla
Cc: Scott Garmon; Tim Lockwood (TimL@naturvet.com); Hannah Dickerson; Denise Caluya; Cathy Rodriguez
Subject: Naturvet

Dr. Ghumman, Bob and Jesse

Please accept this e-mail as an official notrfication that The Garmon Corp/ Naturvet will no longer continue to have a
direct relationship with Healthy Pets, Entirely Pets, Heartland Vet Supply or any subsidrarv related to any DBA or LLC
associated to such companies. We have made the decision to discontinue shipping any Garmon Corp products directly to
Healthy Pets moving forward. Any PO's in house will be cancelled immediately. We have also made the decision to "
unauthorize" entirely pets as one of our authorized online sellers of our products on any platform you are selling
Garmon Corp /Naturvet products. We will be happy to buy back any re-sell able inventory you have in stock and cut you
a check as soon as we receive the product back.

If you have any further questions feel free to contact us directly

Best Regards,



Marty Candiotta
Director of Sales
NaturVet/Garmon Corp
888-628-8783 ext. 210
Cell 818-821- 7266
27461 Via Industria, Temecula, CA 92590




                                                             2
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4/13/2018                                                                     NaturVet Quiet Moments - Calming Aid (30 Tabs)
            Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 75 of 102 Page ID #:75



   (index html)


                                                            14% Off Sitewide* use code: SPRING14


     Home (Index html)> Dog Supplies (dogsupphes html)> Training & Behavior (pet training html)> Dog Anxiety & Stress Solutions (dog anxiety stress html)> Quiet Moments for Dogs
     (quretmornents for dogs html)> NaturVet Quiet Moments Calming Aid (30 Tabs)




   [I]
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                                                            RfUA!!

                                    Quiet Moments·
                                          CalmmgAid




   NaturVet Quiet Moments - Calming Aid (30 Tabs)
   ::; ,'{ ,'( ', ,': 1 Review   QJ Ask a Question (https //myaccount healthypets com/mod_quest1onsAndAnswers/quest1onForm phpvoroductld=naqumocaardaj


  Item 79903570
  Avarlabihty In Stock



     Was~

      $10.99
      You Save: $2.00! (15%)

     Quantity:           1


     n••   Auto Reship & SAVE! Details (autoreshq;i.htmlJ
       One-Time Order                        'I'




    Description       Ingredients    Useful Information Customer Reviews Customer Q&A




      DESCRIPTION

https //www healthypets com/naqumocaarda html                                                                                                                                       1/4
4/13/2018                             Quiet Moments® Calming Aid Tablets - NaturVet
         Case 5:18-cv-00809-ODW-SHK Document   1 Filed 04/19/18 Page 76 of 102 Page ID #:76

                                                    mmmm
          Special Offers          Sign Up For NaturVet Emails               Submit             What are you looking for?




                                                                                                                             MENU




              uiet                               ents® aiming id Tablets
                                                                             Plus Melatonin
                                                                             ~ ~ ~ ~ ~ (2 customer reviews)

                                                                             For use in dogs only over the age of 12 weeks
                                                                             Recommended to help support the nervous system
                                                                             m reducing stress and tension Also recommended
                                                                             for dogs when traveling by car, plane or boat
                                                                             • Helps Reduce Stress and Tension
                                                                             • Great for Storms, Fireworks, Travel, and Grooming
                                                                             • Time Release

                                                            emer                    Shop NaturVet Products Near You
                                                 Calming Aid
                                                                                    Shop NaturVet Products Online



                                                                            A vailab/e In

                                                                            30 ct      60 ct
                                                                             Net Wt 90 g (3 1 oz)




            Product Info        Active Ingredients         Inactive Ingredients     Directions For Use      Partner Assets



https //naturvet com/product/qu1et-moments-calm1ng-a1d-tablets/                                                                     1/4
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 77 of 102 Page ID #:77
4/13/2018                               NaturVet GrassSaver (300 Chewable Wafers)
          Case 5:18-cv-00809-ODW-SHK Document     1 Filed 04/19/18 Page 78 of 102 Page ID #:78




  (index html)


                                                          14% Off Sitewide* use code: SPRING14


    Home (index html)> Dog Supplies (dogsupplles html)> Food Supplements (stooleatprev html)> Urine Odor & Lawn Burn Supplements (stooleatprevdog html)> NaturVet GrassSaver
    (grasssaver html)> NaturVet GrassSaver (300 Chewable Wafers)




  [!]




   NaturVet GrassSaver (300 Chewable Wafers)
  i'r(,'rCJ{::ru   1 Review   OJ   Ask a Question (https //myaccount healthypets com/mod_questlonsAndAnswers/quest1onForm php?productld=grasssaver300chews)



  Item 79903427
  Availabrhty In Stock



    Was~


    $18.99
    You Save: $5.00! (21%)

    Quantity:          1


     ..
    ("«. Auto Reship & SAVE! Details (autoreshlP- html)
     One-Time Order            ,.




  Customers Also Bought




https //www healthypets com/grasssaver300chews html                                                                                                                            1/5
4/13/2018                                 GrassSaver® Wafers - NaturVet
         Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 79 of 102 Page ID #:79




         Special Offers          Sign Up For NaturVet Emails             Submit         What are you lookmg for?




                                                                                                                     MENU




             rassSaver®                                    afers
                                                                         Plus Enzymes
                                                                         ~~~~~ (1 customer review)

                                                                         For Dogs Do Not Use for Cats
                                                                         Does your dog's unne yellow your lawn?
                                                                         GrassSaver® wafers contain healthy mqredients that
                                                                         help to drnurush those yellow spots when fed to your
                                                                         dog on a daily basis


                                                                         Helpful Instructions:
                                                                         Water yellow spots heavily for two weeks Once your
                                                                         pet has been fed GrassSaver® Wafers for two
                                                                         weeks, reseed all yellow spots


                                                                               Shop NaturVet Products Near You

                                                                               Shop NaturVet Products Online



                                                                         Available In

                                                                         300ct
                                                                         600g (21oz)




            Product Info       Guaranteed Analysis         Ingredients   Feeding Directions     Partner Assets



https //naturvet com/product/grasssaver-chewable-wafers/                                                                        1/4
Case 5:18-cv-00809-ODW-SHK Document 1 Filed 04/19/18 Page 80 of 102 Page ID #:80
Case 5:18-cv-00809-ODW-SHK
 GrassSaver® Tabs - NaturVet Document 1 Filed 04/19/18 Page 81 of 102 Page
                                                                       Page ID
                                                                            1 of#:81
                                                                                 6




      Special Offers     S1gn Up For NaturVet Emails      Submit


      Q    What are you looking for?




                                                                                   MENU




            r s                               r Tbs
                                                       No More Yellow Spots!
                                                       Does your dog's urine yellow your
                                                       lawn? GrassSaver contains
                                                       healthy ingredients that help to
                                                       diminish those yellow spots when
                                                       given to your dog on a daily basis.
                                                       • Stops yellow spots on your lawn
                                                       • Chewable tablets taste like a
                                                       treat!
                                                       For use in dogs. Do not use in
                                                       cats.


                                                       GrassSaver is a healthy
                                                       supplement to help rid your lawn
                                                       of yellow spots. This unique
                                                       formula contains a synergistic
                                                       combination of B-Complex
                                                       vitamins and amino acids. Imagine



https://naturvet.com/product/grasssaver-tabs/                                             4/6/2018
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 GrassSaver® Tabs - NaturVet Document 1 Filed 04/19/18 Page 82 of 102 Page
                                                                       Page 2IDof#:82
                                                                                  6




                                                     how green your lawn can look.
                                                     Simply feed GrassSaver to your
                                                     dog on a daily basis and rid your
                                                     lawn of yellow spots.Yucca
                                                     contained in GrassSaver also
                                                     helps to reduce stool odor.


                                                     Helpful Instructions:
                                                     Water lawn heavily for two weeks
                                                     to bleach out yellow spots. After
                                                     feeding GrassSaver for two
                                                     weeks, reseed all yellow spots.


                                                           Shop NaturVet Products Near

                                                     You

                                                           Shop NaturVet Products Online



                                                     A veltebte In

                                                             500ct
                                                     125g (4.4oz)




                                  Ingredients

            feeding Directions           Calorie Content    Partner Assets


       Naturvet GrassSaver Tabs
       Does your dog's urine yellow your lawn? GrassSaver contains healthy



 https ://naturvet. com/product/grasssaver-tabs/                                         4/6/2018
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 GrassSaver® Tabs - NaturVet Document 1 Filed 04/19/18 Page 83 of 102 Page
                                                                       Page ID
                                                                            3 of#:83
                                                                                 6




       ingredients that help to diminish those yellow spots when given to your
       dog
       on a daily basis.
       • Stops yellow spots on your lawn
       • Chewable tablets taste like a treat!


       GrassSaver is a healthy supplement to help rid your lawn of yellow
       spots. This unique formula contains a synergistic combination of
       B-Complex vitamins and amino acids. Imagine how green your lawn can
       look. Simply feed GrassSaver to your dog on a daily basis and rid your
       lawn of yellow spots.Yucca contained in GrassSaver also helps to
       reduce stool odor.


       Helpful Instructions:
       Water lawn heavily for two weeks to bleach out yellow spots. After
       feeding GrassSaver for two weeks, reseed all yellow spots.


       Cautions:
       For use in dogs. Do not use in cats. If your dog is on a "prescription diet"
       by a veterinarian, or if your dog has a metabolic disease (particularly
       liver or kidney dysfunction) then consult your veterinarian before using.
       Feed only the recommended amount to avoid adverse effects of excess
       methionine consumption. For animal use only. Keep out of reach of
       children and pets. An accidental overdose may cause vomiting,
       disorientation or unsteady, uncoordinated walking. In case of an
       overdose, contact a veterinarian immediately.



           We think y ur pet might als
                       •
                     enJ Y~··
 https ://naturvet.corn/product/ grasssaver-tabs/                                4/6/2018
Case 5:18-cv-00809-ODW-SHK
 GrassSaver® Tabs - NaturVet Document 1 Filed 04/19/18 Page 84 of 102 Page
                                                                       Page 4IDof#:84
                                                                                  6




        Aller-911® Skin          Outta My Box™       Aller-9U® Skin &.    Omega-Gold
        Care Shampoo                                    Coat Tabs
                                 Deters Dogs From                         Plus Salmon Oil
         Plus Aloe Vera          Eating Cat Stools   Plus Antioxidants


                                                                         About
       NaturVet
       NaturVet is pet supplement company that has been manufacturing
       healthy pet supplements for dogs, cats and horses since 1994. We
       believe all pets deserve a quality life and a chance at living that life in
       optimal health and happiness. We are an NASC audited member and we
       carry the NASC seal on all of our labels. All of our supplements are
       manufactured in the US in a fully compliant, cGMP standard, FDA
       registered facility which means we follow the highest industry standards
       and practices. We also stand behind all of our pet supplements with a
       100% money back guarantee.



            rite a review:
       Your email address will not be published. Required fields are marked *


       Comment




 https ://naturvet.com/product/ grasssaver-tabs/                                        4/6/2018
Case 5:18-cv-00809-ODW-SHK
 GrassSaver® Tabs - NaturVet Document 1 Filed 04/19/18 Page 85 of 102 Page
                                                                       Page ID
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       Name*




       Email*




       Website




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           POST COMMENT




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                           #naturvet #forthehealthofyourpet




 https ://naturvet.com/product/ grass saver-tabs/                          4/6/2018
Case 5:18-cv-00809-ODW-SHK
 GrassSaver® Tabs - NaturVet Document 1 Filed 04/19/18 Page 86 of 102 Page
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         Products                                        Coupons
         Where to Buy                                    Refund Policy
         Inside Naturvet                                 Terms Of Use
         Join Our Pack                                   Privacy Policy
         Partner Assets                                  Contact Us


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                                                        © Copyright 2018 by Garmon Corp All rights reserved

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 NaturVet GrassSaver       Document 1 Filed 04/19/18 Page 87 of 102 Page
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         (index html)                                                                                                    BINIWG ORDER?HEALTHYPETSCOM)



                               10% Off Sitewide* + Free Shipping on $49+ use code : 1 OFSG49


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          NaturVet GrassSaver (grasssaver html)> NaturVet GrassSaver




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                                                                                           Was~

                                                                                           $13.99
                                                                                           You Save $4 01 r (22%)

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                                                                                            Choose an Option             B

                                                                                           Quantity


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           Description           Ingredients            Useful Information               Customer Reviews                 Customer Q&A



           DESCRIPTION

             NaturVet GrassSaver this unique formula contains a synergrstic combination of B Complex vrtarnms and amino acids Imagine how
             green your lawn can look Slmplyfeed GrassSaver to your dog on a dally basis and nd your lawn of yellow spots

           • A healthy supplement to help nd your lawn of yellow spots
           • Unique formula contains a synergisnc cornbrnanon of B Complex vitarruns and amino acids
           • Yucca contained m GrassSaver also helps to reduce stool odor
             Chewable tablet tastes hke a treat
             Made in the USA


             Limit 12 per order




 https://www.healthypets.com/nagrta.htrnl                                                                                                                         4/6/2018
Case 5:18-cv-00809-ODW-SHK
 NaturVet GrassSaver       Document 1 Filed 04/19/18 Page 88 of 102 Page
                                                                     Page 2IDof#:88
                                                                                3



           INGREDIENTS

              Guaranteed Analysis per 500 mg Tablet

              di-Methionine                                                                      25% Min



             Each tablet contains 133 mg of di Methionine

            Ingredients di Methionine Maltodextnn Drcalourn Phosphate Yucca schrdlgera Extract, Mtcrocrystalltne Cellulose Natural
            Flavoring Thiamine Monorutrate Biotin Vltrnarn B12 Supplement Pyndoxlne Hydrochloride Stearic Acid Magnesium Stearate and
            Silica Aerogel




           USEFUL INFORMATION

              Weight                                                               Daily Amount

              Up to 10 lbs                                                         1 tablet

              11-19 lbs                                                            2 tablets

              20-50 lbs                                                            3 4 tablets

              51-79 lbs                                                            5 6 tablets

              80 lbs and over                                                      7 tablets



            NOTE Double the daily amount for the first 2 weeks

            CAUTIONS If your dog Is on a 'prescnption diet by a veterinarian or if your dog has a metabolic disease (particularly liver or kidney
            dysfunction) then consult your veterinarian before using Feed only the recommended amount to avoid adverse effects of excess
            methionine consumption For animal use only Keep out of reach of children and pets An accidental overdose may cause vomiting
            disorientation or unsteady uncoordranted walking In case of an overdose contact a vetennanan Immediately




          CUSTOMER REVIEWS

                NaturVet GrassSaver
             (https //www heallhypets com/nagrta html)
                     $13 99

                    Write a Review
                    (https //myaccount healthypets com/mod_productRev1ews/rev1ewForm php?
                    productld=nagrta)




          CUSTOMER Q&A
          There are no questions or answers for this item




                                                                    Ask a Question
                       (https //myaccount healthypets com/mod_quest1onsAndAnswers/quest1onForm php?
                                                                  productld=nagrta)




 https://www.healthypets.com/nagrta.html                                                                                                            4/6/2018
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Case      GrassSaver
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         BE THE FIRST TO SAVE!
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              B Subscribe to Newsletter                     Q LIVE                  800.889.9475
                                                             CHAT
                                                                                     (tel:1-800-
                                                                                     889-9475)

                                     Contact Us              My Account               Customer Care
                                     sales@healthypets co    (https://myaccou nt.heait@,jpR~~-~~l
                                     m (ma Ito)
                                                             Log m                                            About Us (aboutus html)
          f W ~             G•       Tel 800 889 9475        (https //myaccount healthypets com/)
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                                                             Resources                                        Dog Categories
                                                             Compare Flea & Tick Medication                   Treats & Chews (dogtreats1 html)
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                                                             Dog Topic Guide (loyaldogbreeds html)
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                                                             Cat Categories
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https://www.healthypets.com/nagrta.html                                                                                                                  4/6/2018
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Case 5:18-cv-00809-ODW-SHK
 Ear Wash Liquid- NaturVet Document 1 Filed 04/19/18 Page 91 of 102 Page
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       f    a
      Special Offers     Sign Up For NaturVet Emails       Submit


      Q    What are you Jookmg for?




                                                                                    MENU



                                                          •
      E r                        5           Li           I
                                                        Plus Tea Tree Oil
                                               0
                                                                     (2 customer reviews)

                                                        A gentle, yet effective formula
                                                        designed to help dissolve ear wax
                                                        and remove foreign debris. Can be
                                                        used as often as needed and is
                                                        especially recommended after
                                                        bathing or swimming.
                                                        • Reduces Ear Odor
                                         EarW
                                          Baby Powder   • Safe For Routine Ear Cleaning
                                                        • Helps Remove Ear Wax and
                                                        Debris
                                                        • Contains Tea Tree Oil
                                                        • With Aloe and Baby Powder
                                                        Scent




https://naturvet.corn/product/ear-wash/                                                   4/6/2018
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 Ear Wash Liquid- NaturVet Document 1 Filed 04/19/18 Page 92 of 102 Page
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                                                       Shop NaturVet Products Near
                                                 You
                                                       Shop NaturVet Products Online


                                                 Available In

                                                 4 fl. oz 8 fl. oz    16 fl. oz
                                                  1 Gallon
                                                  118 ml




                      Info       Ingredients   Directions


      A gentle, yet effective formula designed to help dissolve ear wax and
      remove foreign debris. Can be used as often as needed and is
      especially recommended after bathing or swimming.
      • Reduces Ear Odor
      " Safe For Routine Ear Cleaning
      • Helps Remove Ear Wax and Debris
      • Contains Tea Tree Oil
      • With Aloe and Baby Powder Scent


      Caution: For use on dogs and cats only. Keep out of reach of
      children. Do not use on infected ears. Consult veterinarian for help in
      diagnosing ear infections. If mite infestation is suspected as evidenced
      by ear scratching, head shaking, redness, scaling or presence of mite
      debris, use a registered miticide.




https://naturvet. com/product/ ear-wash/                                          4/6/2018
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 Ear Wash Liquid- NaturVet Document 1 Filed 04/19/18 Page 93 of 102 Page
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        Aller-911® Skin           Adult-Cal™                Off limits™        AUer-911®
        Care Shampoo             Nutritional Gel                            Allergy Aid Soft
                                                           Training Spray        Chews
         Plus Aloe Vera          Plus Vitamins &
                                    Minerals                                Plus Antioxidants




      About NaturVet
      NaturVet is pet supplement company that has been manufacturing
      healthy pet supplements for dogs, cats and horses since 1994. We
      believe all pets deserve a quality life and a chance at living that life in
      optimal health and happiness. We are an NASC audited member and we
      carry the NASC seal on all of our labels. All of our supplements are
      manufactured in the US in a fully compliant, cGMP standard, FDA
      registered facility which means we follow the highest industry standards
      and practices. We also stand behind all of our pet supplements with a
      100% money back guarantee.


      1. Cher says:
          May 26, 2016 at 7:06 pm
          Absolutely LOVE this product! It smells good, easy application and
          does a great job cleaning and keeping our babies ears clean!



https ://naturvet.corn/product/ ear-wash/                                                  4/6/2018
Case 5:18-cv-00809-ODW-SHK
 Ear Wash Liquid - NaturVet Document 1 Filed 04/19/18 Page 94 of 102 Page
                                                                      Page 4IDof#:94
                                                                                 5




       2. Martha says:
           July 14, 2016 at 5:28 am
           We are in an area with a number of lakes and over the years have
           had a number of people come into our store with concerns over their
           dog's getting water in their ears when swimming. This ear wash
           works Terrific for help in cleaning and drying the ears out! Can't
           recommend it highly enough.



            rite a review:
       Your email address will not be published. Required fields are marked *


       Comment




       Name*




       Email*




       Website




 https ://naturvet. com/product/ ear-wash/                                      4/6/2018
Case 5:18-cv-00809-ODW-SHK
 Ear Wash Liquid- NaturVet Document 1 Filed 04/19/18 Page 95 of 102 Page
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         POST COMMENT




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        Products                                          Coupons
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        Inside Naturvet                                   Terms Of Use
        Join Our Pack                                     Privacy Policy
        Partner Assets                                    Contact Us


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https://naturvet.com/product/ear-wash/                                                                  4/6/2018
Case 5:18-cv-00809-ODW-SHK
 NaturVet Ear Wash with Tea Tree OilDocument
                                     (8 oz)  1 Filed 04/19/18 Page 96 of 102 Page
                                                                              Page ID
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                                                      Search by keyword                                        CONTACT V MY ACCOUN'IIIIII

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         (index html)                                                                                                     BIN/WG-ORDER'HEALTHYPETSCOM)



                               10% OffSitewide* + Free Shipping on $49+ use code: 10FSG49


          Home (index html)> Dog Supplies (dogsupplles html)> Ear & Eye Products {earproducts html)> Ear Cleansers & Treatments (earcleansers html)> Naturvet Ear Wash
          (naturvet ear wash html}> NaturVet Ear Wash with Tea Tree 01! (8 oz)




                                                                                          NaturVet Ear Wash with
                                                                                          Tea Tree Oil (8 oz)
                                                                                          Write a  Review                                                                Q   Ask a Quest!
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                                                                                          productld naturvet ear wash with tea tree 011 8 oz)                            productld natur


                                                                                          Item 79903801
                                                                                          Avarlabihty In Stock



                                                                                             Was~

                                                                                             $12.99
                                                                                             You Save $4 001 (24%)

                                                                                             Quantity


                                                                                            ~
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                                                                                              One-Time Order                     E]




           Descnptron             Ingredients           Useful Information                Customer Reviews                 Customer Q&A




           DESCRIPTION

             NaturVet Ear Wash with Tea Tree OJI this formula consists of natural active ingredients for cleaning the ear canal of dogs and cats
             A gentle yet effective product designed to help dissolve ear wax and remove foreign debris Can be used as often as needed and ts
             especially recommended after bathing or swimming

             Suitable for cats and dogs of all life stages
             Formula consists of natural active ingredients for cleaning the ear canal
           • Made with Tea Tree 011 which has natural antrrmcrobral properties along with soothing aloe
           • Gentle yet effective formula designed to help dissolve ear wax and remove foreign debris Also helps to reduce ear odor and rs safe
             for routine ear cleaning
             Designed ta help dissolve ear wax & remove foreign debris safely without harming your pet


             Limit 12 per order




 https://www.healthypets.com/naturvet-ear-wash-w1th-tea-tree-01l-8-oz.html                                                                                               4/6/2018
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 NaturVet Ear Wash with Tea Tree OilDocument
                                     (8 oz)  1 Filed 04/19/18 Page 97 of 102 Page
                                                                              Page ID
                                                                                   2 of#:97
                                                                                        3



           INGREDIENTS

              Witch Hazel Deionized Water Glycerine Boric Acid, Tea Tree 011 Polysorbate 80 Echlnacea Extract, Natural Coloring. Aloe Vera
              Extract and Baby Powder Fragrance




           USEFUL INFORMATION

              Point spout tip into ear canal Squeeze bottle to release enough drops to partially fill the ear canal Gently massage the base of the
              ear canal to help loosen wax Remove lrqurd dissolved wax and dirt with cotton balls or facial tissue Repeat as needed Do not use
              cotton swabs or Insert pointed objects into the ear

             HAZARDS TO HUMANS AND ANIMALS For use on dogs and cats only Keep out of reach of children Do not use on infected ears
             Consult veterinarian for help m diagnosing ear infections If mite Infestation rs suspected as evidenced by ear scratching head
             shaking redness scaling or presence of mite debris use a registered rrutrode




           CUSTOMER REVIEWS

               NaturVet Ear Wash with
                  Tea Tree Oil (8 oz)
              (https //www healthypets com/naturvet
                ear wash with tea tree
                     011 8 oz html)
                      $12 99

                     Write a Review
                     (https //myaccount healthypets com/mod_productRev1ews/rev1ewForm php?
                     productld=naturvet-ear-wash-w1th-tea-tree-01l-8-oz)




           CUSTOMER Q&A
           There are no questions or answers for this item




                                                                      Ask a Question
                       (https //myaccount healthypets com/mod_quest1onsAndAnswers/quest1onForm php?
                                                  productld=naturvet-ear-wash-w1th-tea-tree-01l-8-oz)




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                                                                                    (tel:1-800-
                                                                                    889-9475)

                                         Contact Us             My Account              Customer Care
                                        sales@healthypets co    (https://myaccount.healt~)f,R~~.~,Q)




 https://www.healthypets.com/naturvet-ear-wash-with-tea-tree-oil-8-oz html                                                                           4/6/2018
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Case      Ear Wash with Tea Tree OilDocument
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                                                                 Resources                                       Dog Categories
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                                                                                                                 Food (healthy pet food central html)
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                                                                 Cat Categories
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                                                                Over the Counter Supplements (over the
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https://www.healthypets.com/naturvet-ear-wash-with-tea-tree-oil-8-oz.html                                                                                   4/6/2018
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                                                                                                            Taft
                                                                      111 East Wacker Drive, Suite 2800 I Chicago, llllnols 60601
             Eugene F. Zelek, Jr.                                                         Tel: 312.527.40001 Fax: 312.527.4011
             Direct· 312 836 4010                                                                             www.taftlaw.com
             Facsimile: 312.966 8595
             E-mail. ezelek@taftlaw com
             Reference· GAC05~GN001




                                                      February 16, 2018

            VIA E-MAIL (mghumman@healtltvpets.com)

           Dr. Manny Ghumman
           President
           HealthyPets, Inc.
           34501 Seventh Street
           Union City, CA 94587


                     Re: Breach of Contract/False and Deceptive Representations
           Dear Dr. Ghurnman:
                   Our client, The Garmon Corporation ("TGC"), is disappointed that HealthyPets, Inc.
           repeatedly has failed to honor its post-termination duties and obligations under its Authorized
           Online Dealer Agreement with TGC (the "Agreement"). Moreover, apart from creating claims
           under the Agreement, HealthyPets continues to falsely and deceptively represent itself as an
           authorized dealer of TGC products and, without authorization, use the intellectual property of
           TGC (e.g., its trademarks, trade names, copyrighted images and text, trade dress and designs).
           Unless your company demonstrates to the satisfaction of TGC no later than seven (7) days from
           the date of this letter that HealthyPets has complied with all of its contractual and other duties
           and obligations or has made an appropriate degree of progress, our client will have no choice but
           to escalate this matter.

                  After signing the Agreement on April 19, 2016, HealthyPets became a Nonexclusive
           Authorized Online Dealer of TGC ('4Dealer") for various TGC products. On September 12,
           2017, your company's status as a Dealer was terminated, as provided in Section 5 of the
           Agreement. However, under Section 4(i), a number of contractual duties and obligations of
           HealthyPets survived termination-all of which your company has chosen to ignore.

                     Quoting from the Agreement, they include without limitation:

                     •   [AJfter termination of this Agreement, [Dealer will] immediately cease at the end of
                         the Coverage Period: (i) advertising, promoting and selling any and all TGC products
                         and (ii) all use of anything which would give the impression that Dealer is an




Taft Stettlnlus & Hollister LLP    Chicago I Cincinnati/ Cleveland/ Columbus/ Dayton/ Indianapolis I Northern Kentucky/ Phoenix
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     Dr. Manny Ghum man
     February 16, 2018
     Page2

                authorized dealer, reseller or representative of or for any or all of such products or has
                any affiliation whatsoever with TGC or such products.

            •   [Dealer will] refrain from knowingly or negligently directly or indirectly (i)
                advertising, promoting or selling in any or all of the following ways: ... online in any
                fashion, unless an d only to the extent each website and marketplace used for such
                purpose by such Dealer is (along with each business name and storefront) approved in
                advance by TGC for such use ... and which approval has not been rescinded by TGC
                Notice and (ii) selling in either or both of the following ways: (A) to anyone for
                resale other than, in the case of permitted returns, to any or all of the Distributors or
                TGC and (B) to anyone other than the Authorized Customers, including without
                limitation to the Special Accounts.

            •   If and as requested by TGC, Dealer will sell or cause the sale to TGC of and, as
                directed by TGC and at TGC's expense, ship or cause to be shipped to TGC or its
                designee(s) each of the items in the Dealer's inventory of TGC products (free of all
                liens, security interests, claims and encumbrances, other than that or those in favor of
                TGC) which is acceptable (as determined by TGC) at a price equal to the price paid to
                TGC or each relevant Distributor therefor or; if unpaid, in lieu of the amount due to
                TGC or each such Distributor therefor, Jess in either case a restocking charge equal to
                the amount, if any, described in the DP.

            Just to be clear, this letter will confirm that: (1) the Coverage Period (i.e., the time after
     termination during which a Dealer, as determi ned by TGC, should have sold or otherwise
    disposed of all of Dealer's inventory of TGC products) is, with respect to HealthyPets, long over;
    (2) TSC has rescinded its approval for HealthyPets to sell TGC products online using any
    website and marketplace and under any business name or storefront whatsoever; (3) your
    company remains banned from selling TGC products to others for resale, except, in the case of
    permitted returns, to TSC and Distributors; and (4) HealthyPets refused to sell to TGC the items
    ofTGC products in the former's inventory after receiving a request from TGC to do so.

            If TGC files suit in order to assert its rights, Section 4 of the Agreement provides that the
    claims will be heard in a bench trial in federal or state court in Riverside, California. Perhaps
    even more troubling from the perspective ofHealthyPets and you, Section 6 states that, ifTGC is
    successful in whole or part in such litigation, your company and its affiliates (which could
    include you personally or others, if you or they control HealthyPets) are liable for all of the
    attorneys' fees and litigation expenses of TGC, its court costs and damages, the costs of
    collection and other relief awarded or ordered by the court.

            In addition to what the Agreement allows, continued use of TGC intellectual property by
    HealthyPets and falsely and deceptively holding itself out as a dealer authorized by our client
    subjects your company, as welJ as you and other individuals personally who are in a decision-
    making capacity, to considerable liability. A successful lawsuit by TGC will result in an
    injunction against your company, you and the other individuals, as well as the payment by your
    company and such individuals of the damages of TGC (or your profits), as well as the attorneys'
    fees ofTGC.
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     February 16, 2018
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             Hopefully, going down this path can be avoided. To that end, no later than seven (7)
     days after the date of this letter, you must demonstrate to the satisfaction of TGC that
     Healthy Pets has complied with all of its contractual and other duties and obligations or has made
     an appropriate degree of progress. Failure to do so will result in om client being forced to take
     additional steps to assert its rights.

            This letter represents the results of our investigation to date, and the position ofTGC may
     change as further information comes to light. Nothing in this letter should be construed as an
     admission on the part of TGC or to waive, limit or otherwise restrict any right, claim, defense or
     counterclaim of our client.

            We look forward to your prompt response.



                                                  Sincerely,

                                                  TAFT STETTINIUS & HOLLISTER LLP


                                                                              /J!"&f
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